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        1                      UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
        2                             MIAMI DIVISION
        3                        Case 99-804-CR-Altonaga
        4
            THE UNITED STATES OF AMERICA,
        5
                           Plaintiff,
        6
                                                        MIAMI, FLORIDA
        7       vs.
                                                        MAY 6, 2011
        8   OSCAR VARELA GARCIA,
        9                Defendant.
            _______________________________________________________________
       10
                              TRANSCRIPT OF JURY TRIAL PROCEEDINGS
       11                   BEFORE THE HONORABLE CECILIA M. ALTONAGA,
                               UNITED STATES DISTRICT JUDGE
       12
            APPEARANCES:
       13
            FOR THE GOVERNMENT:
       14
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                        TOTAL ACCESS COURTROOM NETWORK REALTIME TRANSCRIPTION
                                             May 6, 2011
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                        TOTAL ACCESS COURTROOM NETWORK REALTIME TRANSCRIPTION
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        1   Descriptions                                                        Page

        2                       ADMINISTRATIVE CONVENTIONS:

        3          When counsel does not identify themselves each time they

        4   address the Court during a telephone conference, the

        5   industry-standard speaker identification is indicated by

        6   chevrons, i.e., >>>:

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                                         Arizabaleta - Redirect



        1              THE COURT:   All rise for the jury.

        2        [The jury returns to the courtroom at 9:21 p.m.]

        3              THE COURT:   Everyone please be seated.

        4              Good morning, ladies and gentlemen.        Welcome back.

        5   I'm glad to see everyone could make it with the weather this

        6   morning.

        7              MR. DAVIS:   May I proceed?

        8              THE COURT:   Yes, please.

        9        TULIO PEREZ ARIZABALETA, GOVERNMENT'S WITNESS, RESUMED

       10                     REDIRECT EXAMINATION (cont'd)

       11   [Beginning at 9:21 p.m., 5/5/11.]

       12   BY MR. DAVIS:

       13   Q.   Mr. Perez, do you remember on cross-examination being

       14   asked -- let me start again.        When did you retire from the

       15   organization again?

       16   A.   In 2006.

       17   Q.   Do you remember being asked on cross-examination about when

       18   it was you reached out to the FBI?

       19   A.   Yes, sir.

       20   Q.   When you retired in 2006, did you reach out to the FBI

       21   immediately after retiring?

       22   A.   No, sir.

       23   Q.   When you retired from the Montoya Organization in 2006,

       24   where was Diego?

       25   A.   He was at the Canon de Garrapatas.



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                                         Arizabaleta - Redirect



        1   Q.   So, he wasn't in jail at the time?

        2   A.   No.

        3   Q.   When you retired from the organization in 2006, where was

        4   Eugenio?

        5   A.   He was also at Canon de Garrapatas.

        6   Q.   So, he wasn't in jail at that time?

        7   A.   No, sir.

        8   Q.   What impact did the fact that Diego and Eugenio were still

        9   free in Colombia have on you, would have had on you calling law

       10   enforcement in 2006?

       11   A.   Well, the impact would be that while they remain free, then

       12   my family and I would be in danger.

       13   Q.   If you did what?

       14   A.   If I were to seek any type of contact with the law

       15   enforcement authorities of the United States.

       16   Q.   If you were to have tried to contact in law enforcement in

       17   2006, what do you -- let me start again.

       18              Were you afraid Diego or Eugenio might have learned

       19   that you were trying to cooperate?

       20   A.   Yes, of course, counsel.

       21   Q.   If they were to learn -- and what were you thinking might

       22   happen to you if they were to learn that you were trying to

       23   cooperate?

       24   A.   They would kill me immediately.

       25   Q.   When you left the organization in 2006, what did you



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        1   understand that Eugenio's feelings were towards you?

        2   A.   He had a lot of hatred for me and he ordered me killed.

        3   Q.   What about Diego?    When you left the organization in 2006,

        4   what did you understand that Diego's feelings towards you were?

        5   A.   The same as Eugenio.

        6   Q.   Do you remember being asked on cross-examination about the

        7   $5 million reward that had been offered for assistance in

        8   Diego's capture?

        9   A.   Yes, sir.

       10   Q.   When you retired from the organization in 2006, were you

       11   aware of the existence of that reward?

       12   A.   Yes, sir.

       13   Q.   If you were aware that there was so much money out there if

       14   you were to turn in Diego, why didn't you contact law

       15   enforcement?

       16   A.   Well, if they order me killed just for the fact that I had

       17   left them, you can imagine what would happen if I were to give

       18   him up.

       19   Q.   Do you remember on cross-examination being asked about

       20   where you were living after you left the organization?

       21   A.   Yes, sir.

       22   Q.   Why were you so hesitant to disclose where you were living?

       23   A.   Because of my own safety and because that information might

       24   somehow be leaked and my family, in any event, is still at

       25   risk.



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        1   Q.   Do you remember Mr. Diaz asking you about calling the FBI?

        2   A.   Yes, sir.

        3   Q.   In 2006 did you know the phone number for the FBI?

        4   A.   No, sir.

        5   Q.   If you were to have tried to have contacted the FBI, what

        6   sort of device would you have needed to use?

        7   A.   Some type of telephone.

        8   Q.   When you were working for the organization, do you ever

        9   remember being in the car with Juan Carlos when he was

       10   listening to tapes on headphones?

       11   A.   Yes, sir.

       12   Q.   What would he be listening to?

       13   A.   Telephone conversations of individuals who might have been

       14   acting or flipped against, who were speaking about the

       15   organization, and those conversations had been tapped.

       16   Q.   How would the organization have been able to tap those

       17   conversations?

       18   A.   They had infiltrated the communications companies in Cali,

       19   so they had people who could do that.

       20   Q.   And what impact did that knowledge have on your decision

       21   not to reach out to law enforcement in 2006?

       22   A.   They had a way of doing -- well, whenever they had any

       23   doubts as to the loyalty of any of their workers, then they had

       24   a way of tapping the phones of everyone, the wife, the mother,

       25   one's telephone, the entire family.



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        1   Q.   What do you mean by that?

        2   A.   Well, they had a way of tapping conversations of any of the

        3   workers that they suspected and they had a way of detecting

        4   whether that individual was passing information and if that

        5   were to be the case, they would have them killed.

        6   Q.   What impact did that have on your reluctance to contact law

        7   enforcement in 2006.

        8   A.   Well, just exactly that, that my life, as well as my

        9   family's lives, were in danger.

       10   Q.   Do you remember being asked about the FBI?

       11   A.   Yes, sir.

       12   Q.   The FBI is a law enforcement agency of what country?

       13   A.   The United States.

       14   Q.   Have you heard of an agency known as the DEA?

       15   A.   Yes, sir.

       16   Q.   What is the DEA?

       17   A.   It's a security agency of the United States.

       18             MR. DAVIS:    Could we put up on the screen 1 Z, as in

       19   zebra, in evidence?

       20             SPECIAL AGENT TWEHUES:         (Complied.)

       21   BY MR. DAVIS:

       22   Q.   Who is that?

       23   A.   Dos Mil.

       24   Q.   What reason did Eugenio Montoya give you for why Dos Mil

       25   was no longer alive?



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                                         Arizabaleta - Redirect



        1   A.   He told me that he had already killed that dirty dog

        2   sonofabitch who was a DEA informant.

        3   Q.   What impact did your knowledge of that fact have on your

        4   willingness to contact law enforcement in 2006?

        5   A.   Well, you can imagine, it would be the same impact.            I

        6   already knew what was going to happen to me.

        7              MR. DAVIS:    Mr. Perez, that's all I have on redirect.

        8              THE COURT:    The witness is excused.

        9        [The witness was excused at 9:33 p.m.]

       10              MR. DAVIS:    Your Honor, before the witness comes in,

       11   we have some exhibits that will come in without objection.

       12              8 A and 8 B.

       13   [Government Exhibits 8 A and 8 B marked for identification                 at

       14                                  9:34 p.m.]

       15              MR. DAVIS:    9 A through 9 H.

       16   [Government Exhibits 9 A through 9 H marked for identification

       17                                 at 9:34 p.m.]

       18              MR. DAVIS:    10 A through 10 F.

       19          [Government Exhibits 10 A through 10 F marked for

       20                       identification         at 9:34 p.m.]

       21              MR. DAVIS:    13 A, 13 B and 29 D.

       22   [Government Exhibits 13 A, B, 29 B marked for identification

       23                                 at 9:35 p.m.]

       24              THE COURT:    Those are admitted.

       25   [Government Exhibits 8 A, B, 9 A through H, 10 A through F, 13



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        1               A, B, 29 B received in evidence at 9:35 p.m.]

        2   CARLOS FELIPE TORO SANCHEZ, GOVERNMENT'S WITNESS, SWORN THROUGH

        3                                INTERPRETER

        4                            DIRECT EXAMINATION

        5   BY MR. DAVIS:

        6   Q.   Good morning.

        7   A.   Good morning.

        8   Q.   Could you, please, tell the jurors your name?

        9   A.   Carlos Felipe Toro Sanchez.

       10   Q.   How old are you?

       11   A.   36-years-old.

       12   Q.   Where were you born?

       13   A.   Cali Valle.

       14   Q.   What country?

       15   A.   Oh, in Colombia.

       16   Q.   Where did you grow up?

       17   A.   Excuse me?

       18   Q.   Where did you grow up?

       19   A.   In Colombia, Cali.

       20               MR. DAVIS:   Could we put up on the screen in evidence

       21   1 P, as in Peter?

       22               SPECIAL AGENT TWEHUES:       (Complied.)

       23   A.   Yes.

       24   Q.   Do you recognize that person?

       25   A.   Yes.



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        1   Q.   Who is that?

        2   A.   That's me.

        3   Q.   What's your mother's name?

        4   A.   Hilda Sanchez Jaramillo.

        5   Q.   Does she have any sisters?

        6   A.   Yes.

        7   Q.   How many?

        8   A.   There are three siblings all together.

        9   Q.   How many sisters?

       10   A.   There are four sisters.

       11   Q.   Okay.   So, your mother has four sister?

       12   A.   Yes.

       13   Q.   What are their names?

       14   A.   Carola Sanchez, Ophelia Sanchez, Inez Sanchez and there are

       15   more.

       16   Q.   Does your mother have a sister named Maria?

       17   A.   Yes, Maria Georgina.     She's actually my aunt, who we called

       18   Carola.

       19               MR. DAVIS:   Please put up on the screen 1 Q.

       20               SPECIAL AGENT TWEHUES:       (Complied.)

       21   BY MR. DAVIS:

       22   Q.   Do you recognize that person?

       23   A.   Yes, that's my aunt Carola.

       24   Q.   Does your aunt Carola have any sons?

       25   A.   Yes, sir.



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        1   Q.   How many?

        2   A.   Four children.

        3   Q.   Four children.     How many of them are boys?

        4   A.   Three boys and one girl.

        5              MR. DAVIS:    Could we put --

        6   BY MR. DAVIS:

        7   Q.   What are the names of the boys?

        8   A.   Diego Montoya, Juan Carlos Montoya and Eugenio Montoya.

        9              MR. DAVIS:    Could we put up on the screen 1 A, as in

       10   Alpha, please?

       11              SPECIAL AGENT TWEHUES:         (Complied.)

       12   A.   Diego Montoya.

       13              MR. DAVIS:    Could we put up on the screen 1 B?

       14              SPECIAL AGENT TWEHUES:         (Complied.)

       15   A.   Diego Montoya.

       16              MR. DAVIS:    How about 1 C, as in Charlie?

       17              SPECIAL AGENT TWEHUES:         (Complied.)

       18   A.   Juan Carlos Montoya.

       19              MR. DAVIS:    And, lastly, 1 D, as in Delta.

       20              SPECIAL AGENT TWEHUES:         (Complied.)

       21   A.   Eugenio Montoya.

       22   Q.   Of the three brothers, who is the oldest?

       23   A.   Pardon me?

       24   Q.   Which of the three brothers --

       25              THE INTERPRETER:     (Indicating.)



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        1   A.   Diego Montoya.

        2   Q.   Who is The middle boy?

        3   A.   Juan Carlos Montoya.

        4   Q.   Who is the youngest?

        5   A.   Eugenio Montoya.

        6   Q.   Which of the three brothers are closest to you in age?

        7   A.   Eugenio Montoya.

        8   Q.   When you were growing up, how frequently would you see your

        9   cousins?

       10              THE INTERPRETER:      Your Honor, can the interpreter

       11   instruct the witness?

       12              THE COURT:   Yes.

       13              THE INTERPRETER:      (Complied.)

       14   A.   Oh, very frequently.

       15   Q.   By the way, remind us, what's your full name?

       16   A.   Carlos Felipe Toro Sanchez.

       17   Q.   And would people refer to you by a nickname?

       18   A.   Yes, sir.

       19   Q.   What was that?

       20   A.   Pipe Montoya.

       21   Q.   If you were with friends, would they call you Carlos or

       22   Felipe?

       23   A.   Felipe.

       24   Q.   Where did you go to school?

       25   A.   Forgive me.    I did not hear you well.



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        1   Q.   I'm sorry?

        2             THE INTERPRETER:     It's not you.         It's me.

        3   BY MR. DAVIS:

        4   Q.   In what city did you go to school?

        5   A.   In Cali.

        6   Q.   How far did you go in school?

        7   A.   I completed high school.

        8   Q.   How old were you when you completed high school?

        9   A.   17-years-old.

       10   Q.   When you finished high school, what did you do?            Did you

       11   continue into college?

       12   A.   No, sir.

       13   Q.   What did you do?

       14   A.   I started working with my cousins.

       15   Q.   Why was it that you chose to work for your cousins?

       16   A.   Because that was my -- that's what I wanted.

       17   Q.   So, what was the approximate year you first started working

       18   for your cousins?

       19   A.   Since 1992, between 1990 and 1992.

       20   Q.   By the way, what was your cousins' business?

       21   A.   Processing of cocaine, drug trafficking.

       22   Q.   Were you assisting your cousins when you were in high

       23   school?

       24   A.   Well, sometimes, and when I was just about to finish high

       25   school, the last years of high school, I would spend the



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        1   weekends with them.

        2   Q.   Doing what?

        3   A.   As a bodyguard.

        4   Q.   When you were a bodyguard, were you armed or unarmed?

        5   A.   Yes, sir.

        6   Q.   "Yes," to what?

        7   A.   Yes, sir, I was armed.

        8   Q.   Who were you acting as a bodyguard for when you were in

        9   high school?

       10   A.   My cousins, the Montoyas.

       11   Q.   How long did you continue working with your cousins in the

       12   drug business?

       13   A.   My entire life, until I was captured.

       14   Q.   When were you captured?

       15   A.   December 29th, 2003.

       16              MR. DAVIS:    Could we put up on the screen 1 F, as in

       17   foxtrot?

       18              SPECIAL AGENT TWEHUES:         (Complied.)

       19   A.   Okay.

       20   Q.   Do you recognize that person?

       21   A.   Yes, sir.

       22   Q.   Who is that?

       23   A.   Ivan Urdinola.

       24   Q.   Where did you first meet him?

       25   A.   In the North Valley, in the Milan estate.



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        1   Q.   What was Milan?

        2   A.   What was Milan?

        3   Q.   Yes.   What was Milan?

        4   A.   It was a country estate where they had an airstrip where

        5   airplanes would land, bring in drugs or smuggling in drugs.

        6   Q.   Would airplanes also take off from that airstrip?

        7   A.   Yes, sir.

        8               MR. DAVIS:   Could we put up on the screen 3 C, as in

        9   Charlie.

       10               SPECIAL AGENT TWEHUES:        (Complied.)

       11               MR. DAVIS:   If we could zoom in on the North Valley

       12   area, please.

       13               SPECIAL AGENT TWEHUES:        (Complied.)

       14   BY MR. DAVIS:

       15   Q.   Do you see the town where Milan was located?

       16   A.   Yes, sir.

       17   Q.   What town was that?

       18   A.   Zarzal.

       19   Q.   When you were first going out to Milan where you were

       20   meeting Ivan, why were you going there?

       21   A.   I would go accompanying Diego Montoya.

       22   Q.   As his bodyguard?

       23   A.   Yes, sir.

       24   Q.   Why was Don Diego going to meet Ivan?

       25   A.   Because Don Diego had drug business with Ivan Urdinola.



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        1   Q.   What was Ivan's business?

        2   A.   Drug trafficking.

        3   Q.   What type of drugs?

        4   A.   Cocaine.

        5   Q.   When you first started going with your cousin, Don Diego,

        6   out to meet Ivan, was Ivan a significant drug trafficker at the

        7   time?

        8   A.   Yes, sir.

        9   Q.   How significant?

       10   A.   He was a kingpin.

       11   Q.   Did there come a time that Ivan Urdinola was arrested?

       12   A.   Yes, yes, sir.

       13   Q.   When was that, to the best of your recollection?

       14   A.   That was back in '94, '95, something like that.         Well, '93,

       15   '94.

       16   Q.   Before Ivan was arrested, did he have bodyguards?

       17   A.   Yes, sir.

       18   Q.   Who was the head of Ivan's bodyguards?

       19   A.   Mr. Omar Garcia Capachivo.

       20   Q.   You were looking in the direction of somebody.         Who were

       21   you looking at?

       22   A.   Yes, sir.

       23   Q.   Who were you looking at?

       24   A.   Mr. Omar Garcia Capachivo.

       25   Q.   Between the time that you first went to Milan and the time,



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        1   and the day that you were arrested, how frequently would you

        2   see this person, Omar Garcia Capachivo?

        3   A.   Constantly.

        4   Q.   Before your arrest -- what was the date of your arrest

        5   again?

        6   A.   December 29th, 2003.

        7   Q.   What was the last day that you saw this person, Capachivo,

        8   prior to your arrest?

        9   A.   December 27th, 2003.

       10   Q.   How many days before your arrest?

       11   A.   Two days.

       12   Q.   And you were looking at somebody.               Could you tell us who

       13   you were looking at by describing -- by pointing to him and

       14   describing an article of clothing he is wearing?

       15   A.   That was Mr. Omar Garcia Capachivo and he's wearing a suit

       16   with a tie, striped tie, yellow and black stripes.

       17             MR. DAVIS:    For the record, identifying the defendant,

       18   Your Honor.

       19             THE COURT:    The record reflects.

       20   BY MR. DAVIS:

       21   Q.   You were telling us your initial work with your family,

       22   with your cousins, was acting as a bodyguard.

       23   A.   Yes, sir.

       24   Q.   What did that job entail?

       25   A.   Well, protect Diego.



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        1   Q.   How would you do that?

        2   A.   Always carrying a weapon.

        3   Q.   Would you accompany him when he went places?

        4   A.   Yes, sir.

        5   Q.   When you were Diego's bodyguard, did you ever have to

        6   discharge a weapon?

        7   A.   No, sir.

        8   Q.   Did there come a time -- did your cousins operate cocaine

        9   laboratories?

       10   A.   Yes, sir.

       11   Q.   Did there come a time that you started working in one of

       12   the laboratories?

       13   A.   Yes, sir.

       14   Q.   When was that?

       15   A.   In the year 1992.

       16   Q.   For how long?

       17   A.   For about two years.

       18   Q.   How long did your cousins continue operating cocaine

       19   laboratories?

       20   A.   Well, the labs were there always, '95, '96.

       21   Q.   With did they stop operating?

       22   A.   Well, in around '95, '96, the laboratories.

       23              MR. DAVIS:    Could we put up on the screen 1 T, as in

       24   Thomas?

       25              SPECIAL AGENT TWEHUES:         (Complied.)



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        1   BY MR. DAVIS:

        2   Q.   Do you recognize that person?

        3   A.   Yes, sir.

        4   Q.   Who is that?

        5   A.   Eliud Perez.

        6   Q.   That's the name by which you knew him, Eliud?

        7   A.   Yes, Eliud Perez.

        8   Q.   Did he have a nickname?

        9   A.   Elkin.

       10   Q.   Where did you first meet him?

       11   A.   Around 1990 or -- (in English):           Excuse me -- (In Spanish):

       12   From '92 on.

       13   Q.   Where would you see him?

       14   A.   His cousin of mine's husband.

       15   Q.   Did you ever see him in the Montoya cocaine labs?

       16   A.   Yes, sir.

       17   Q.   You say he was married to a cousin of yours?

       18   A.   Yes, sir.

       19   Q.   What was her name?

       20   A.   Doralid Acevedo.

       21   Q.   After you stopped working in the cocaine labs, what was

       22   your next job with your cousins?

       23   A.   Again, bodyguard.

       24   Q.   For whom?

       25   A.   For Eugenio.



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        1             MR. DAVIS:    Putting up on the screen 1 D, as in Delta.

        2             SPECIAL AGENT TWEHUES:         (Complied.)

        3   BY MR. DAVIS:

        4   Q.   Who is that?

        5   A.   That's Eugenio Montoya.

        6   Q.   Did you ultimately take on additional duties with your work

        7   for Eugenio?

        8   A.   Yes, sir.

        9   Q.   What were those?

       10   A.   Secretary.

       11   Q.   What did that entail?

       12   A.   In the business that we were in, for example, in drug

       13   trafficking, well, we had to go and take messages to people,

       14   bring back -- bring the people so that they could go, and back

       15   to them, count money.

       16   Q.   You were, basically, an assistant?

       17   A.   Yes, sir.

       18   Q.   Sorry.   A trusted assistant?

       19   A.   Yes, sir.

       20   Q.   How long did you work for your cousin, Eugenio as, his

       21   bodyguard or his secretary?

       22   A.   Until 1998 or '97.

       23   Q.   Did there come a time that you started organizing your own

       24   cocaine shipments?

       25   A.   Yes, sir.



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        1   Q.   When did you start doing that?

        2   A.   After 1998.

        3   Q.   Prior to 1998, was there a time you were helping to move

        4   cocaine through the airport in Cali?

        5   A.   Yes, sir.

        6   Q.   When did you start doing that?

        7   A.   In 1995.

        8   Q.   How did you do that?

        9   A.   I met an individual whose name is Carlos Dulcey and he had

       10   a means of taking out the cocaine out of Cali, and I was

       11   introduced by an individual here in Miami who was in charge of

       12   security in American Airlines and, so, we met each other.

       13              We gathered -- we got together in order to set up a

       14   route to transport the drugs to the United States.

       15   Q.   And the drugs would go to the United States by what means?

       16   A.   American Airlines, the airlines, on airplanes.

       17   Q.   On passengers flights?

       18   A.   Yes, sir.

       19   Q.   How would they be smuggled aboard the passenger flights?

       20   A.   In Cali, Carlos Dulcey had a means by which the security

       21   people for American Airlines in Cali would bring in suitcases

       22   full of drugs --     each suitcase would have about 25 kilos --

       23   and place them in certain compartments in the passenger

       24   airplanes.

       25   Q.   How many times did you ship cocaine from Colombia to Miami



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        1   via that method?

        2   A.   Four times.

        3   Q.   How big were these loads?

        4   A.   50 kilos.

        5   Q.   Each time?

        6   A.   The first one was 25 and the other three were for 50 each.

        7   Q.   As part of this operation, would you have to bribe police

        8   officers in Cali to get the cocaine on the planes?

        9   A.   Yes, sir.

       10   Q.   Of the four times that you sent cocaine from Cali to Miami

       11   via this method, how many of those loads were successful?

       12   A.   We had success with all of them, all of them.

       13   Q.   None of them were seized?

       14   A.   The last one.

       15   Q.   Was the one that was seized, was that on a passenger plane

       16   or on a cargo plane?

       17   A.   Well, we had the two methods.          One was using the passenger

       18   planes and the other one was using the cargo planes.          It was

       19   the one on the cargo plane.

       20   Q.   That was seized?

       21   A.   Yes, and the first one was on the passenger plane.

       22   Q.   We'll get to the cargo planes in a moment.

       23             So, all four of the passenger -- all four of the loads

       24   on the passenger planes were successful then.          Correct?

       25   A.   Yes, sir.



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        1   Q.   What percentage of these loads did you own?

        2   A.   25 percent.

        3   Q.   If you were organizing these loads, how come you didn't own

        4   more?

        5   A.   I did not have enough money for the whole operation.

        6   Q.   What percentage of these loads did your cousins own?

        7   A.   50 percent.

        8   Q.   Which cousins -- okay.      They had 50 percent?

        9   A.   Yes, sir.

       10   Q.   And which cousins owned 50 percent of these loads?

       11   A.   Juan Carlos and Eugenio Montoya.

       12   Q.   1 D on the screen, who is that?

       13   A.   Eugenio Montoya.

       14              MR. DAVIS:   Putting up on the screen 1 C, as in

       15   Charlie.

       16              SPECIAL AGENT TWEHUES:        (Complied.)

       17   A.   Juan Carlos Montoya.

       18   Q.   Remind us what percentage did Juan Carlos and Eugenio own

       19   of your loads through American Airlines?

       20   A.   50 percent.

       21   Q.   How much did you profit per kilo of the portion of loads

       22   that you owned?

       23   A.   I would say about $5,000 to $6,000.

       24   Q.   So, for the first load where you shipped 25 kilos, how many

       25   kilos would you have actually owned on that load?



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        1   A.   25 percent.

        2   Q.   A little more than six kilos then?

        3   A.   Yes, yes, sir.

        4   Q.   And you would have earned how many thousand dollars per

        5   kilo?

        6   A.   30,000 or 40,000 in that first load.

        7   Q.   For the total?

        8   A.   You mean the profit?

        9   Q.   Sí.   Yes.   Sorry.   Let me start again.       My questions are a

       10   little confusing.

       11              You were saying you owned approximately six kilos on

       12   the first load.

       13   A.   Yes, sir.

       14   Q.   How much were you making per kilo?

       15   A.   5,000 to $6,000.

       16   Q.   Okay.   So, for those six kilos, how much would you have

       17   profited total on that first load?

       18   A.   30,000 to $40,000.

       19   Q.   On the last three loads, how big were those?

       20   A.   50 kilos.

       21   Q.   What percentage would you have owned?

       22   A.   25 percent.

       23   Q.   About 12 and a half kilos then?

       24   A.   Yes, sir.

       25   Q.   What was your profit per kilo on those loads?



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        1   A.   5,000 to $600.

        2   Q.   You would have made somewhere between, if my math is

        3   correct, 60 and $75,000?

        4   A.   Yes, sir.

        5   Q.   The same thing for the last two loads?

        6   A.   Yes, sir.

        7   Q.   Now, did the defendant own any portion of those loads that

        8   you put through American Airlines?

        9   A.   Capachivo?

       10   Q.   Yes.

       11   A.   No, sir.

       12   Q.   You were saying that you also had a load, a route that

       13   involved using cargo planes.

       14   A.   Yes, sir.

       15   Q.   When did that route start?

       16   A.   After the load with the American Airlines was lost.

       17   Q.   You lost a load through American Airlines?

       18   A.   Yes, sir.

       19   Q.   When was that?

       20   A.   That was in '95 to '97.

       21   Q.   So, what was the next -- what was the airline that you were

       22   using for the next route?

       23   A.   Kalita.

       24   Q.   Can you spell that for the court reporter, please?

       25   A.   K-a-l-i-t-a.



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        1   Q.   What type of airline was Kalita?

        2   A.   Cargo planes.

        3   Q.   How many loads did you send out through this cargo company,

        4   Kalita?

        5   A.   Four.

        6   Q.   Where were they sent from?

        7   A.   Cali.

        8   Q.   To where?

        9   A.   To Miami.

       10   Q.   How large were these loads?

       11   A.   80 kilos.

       12   Q.   How were they hidden on the planes?

       13   A.   The spare tires for the airplane.

       14   Q.   What portion of these loads did you own?

       15   A.   Again, the same, 25 percent of the load.

       16   Q.   What was your profit per kilo?

       17   A.   5,000 to $6,000.

       18   Q.   I think I asked you this, but in case I didn't, where were

       19   these planes going to?

       20   A.   Here, Miami.

       21   Q.   How many of these loads were successfully smuggled into

       22   Miami?

       23   A.   Three.

       24   Q.   How many were seized?

       25   A.   One.



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        1   Q.   What percentage of the loads did your cousins own?

        2   A.   They were not included in those.

        3   Q.   You had other investors on those loads?

        4   A.   Yes, sir.

        5   Q.   What about Capa?      What percentage did Capa have on those

        6   loads?

        7   A.   None.

        8   Q.   Was there a time that your cousin, Eugenio, asked you to

        9   help him distribute a load that was in New York?

       10   A.   Yes, sir.

       11   Q.   What did that involve?

       12   A.   To find an individual who could receive the drug in New

       13   York.

       14   Q.   What type of drug?

       15   A.   Cocaine.

       16   Q.   By the way, what type of drug were you smuggling aboard

       17   Kalita Airlines?

       18   A.   Cocaine.

       19   Q.   What about what kind of drug were you smuggling aboard

       20   American Airlines?

       21   A.   Cocaine.

       22   Q.   Going back to the shipment that was in New York, how big

       23   was this shipment that Eugenio asked you to help him find a

       24   distributor for?      Do you understand my question?

       25   A.   No, I didn't understand it.



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        1   Q.   Don't worry about it.     Let me try again.     It wasn't a very

        2   good question.

        3               You were saying a few moments ago that Eugenio asked

        4   you to help him find somebody in New York to receive a

        5   shipment.

        6   A.   Yes, sir.

        7   Q.   How big was this shipment?

        8   A.   100 kilos.

        9   Q.   What did you do?

       10   A.   I found a person that could receive that shipment in New

       11   York.

       12   Q.   Who was that person?

       13   A.   A friend of mine, a female friend of mine.

       14   Q.   What was her name?

       15   A.   I don't remember, sir.

       16   Q.   How much did you get for doing this?

       17   A.   $500 per kilo.

       18   Q.   Did the defendant have any role in your helping Eugenio to

       19   find somebody to receive his shipment in New York?

       20   A.   Yes, he was the husband.

       21   Q.   Of the person who -- did the defendant have any role in the

       22   shipment to New York?

       23   A.   Capachivo?

       24   Q.   Yes.

       25   A.   No, sir.



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        1   Q.   So, you were confused by my last question a little bit.

        2             Once again, if you're confused by any of my questions,

        3   please let me know.

        4   A.   Okay.

        5   Q.   Was there sometime that you started sending out loads of

        6   cocaine via boat?

        7   A.   Yes, sir.

        8   Q.   When you first started sending out cocaine via boat, from

        9   where were you sending it?

       10   A.   From the ports in Buenaventura and Narino in Tumaco.

       11             MR. DAVIS:    Can we put up on the screen 3 B, as in

       12   bravo?

       13             SPECIAL AGENT TWEHUES:         (Complied.)

       14   BY MR. DAVIS:

       15   Q.   Before we zoom in, was this off Colombia's Pacific coast or

       16   Atlantic coast?

       17   A.   Pacific coast.

       18             MR. DAVIS:    Can we zoom in on Colombia's Pacific

       19   coast, please?

       20             SPECIAL AGENT TWEHUES:         (Complied.)

       21   BY MR. DAVIS:

       22   Q.   What cities were you using to ship out cocaine from the

       23   Pacific coast?

       24   A.   Well, actually, they were not the ports.          We actually used

       25   the rivers that open into the ocean and we would send the boats



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        1   loaded with the cocaine to meet the larger ships that were out

        2   at sea.

        3   Q.   What general vicinity -- what big cities -- let me start

        4   again.

        5             Would these rivers empty out into the ocean close to

        6   any big cities.

        7   A.   Excuse me?

        8   Q.   Let me try again.    Where were these rivers emptying out to?

        9   A.   Into the sea.

       10   Q.   And were they emptying out to the sea close to any major

       11   port cities in Colombia?

       12   A.   Tumaco or Buenaventura.

       13   Q.   And you said once these boats would empty out to the sea,

       14   they would meet another boat?

       15   A.   Yes, sir.

       16   Q.   How would that work?

       17   A.   Okay.   The speedboats would go through the river.        They

       18   would actually come up the river to a certain point in the

       19   jungle.

       20             There they would pick up the cocaine.        They would go

       21   out the same way, on the same river, and what they would do is

       22   that they would supply the fishing vessels that were already in

       23   the high seas.

       24   Q.   Once the cocaine was placed on the fishing vessels, where

       25   would the fishing vessels go?



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        1   A.   Mexico.

        2              MR. DAVIS:    Can we put up on the screen 3 A, as in

        3   alpha?

        4              SPECIAL AGENT TWEHUES:         (Complied.)

        5   BY MR. DAVIS:

        6   Q.   Do you see an arrow pointing to Mexico?

        7   A.   Yes, sir.

        8   Q.   How many loads did you send out off Colombia's Pacific

        9   coast to Mexico?

       10   A.   More than 14.

       11   Q.   What was the size of the smallest load?

       12   A.   1,600 kilos.

       13   Q.   What was the size of the largest load?

       14   A.   9,000 kilos.

       15   Q.   How many of these loads were successful?

       16   A.   Some of them were successful, but others were not.            It's

       17   relative.

       18   Q.   What do you mean?

       19   A.   Well, some would go in successfully and others were lost.

       20   Q.   Of these loads, of these 14 or more loads that you sent

       21   out, do you remember approximately how many of them were

       22   successful?

       23   A.   Around five or six.

       24   Q.   How many of them were seized?

       25   A.   Seized?   There were around seven shipments.



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        1   Q.   Were there some lost?

        2   A.   Yes, sir.

        3             MR. DAVIS:    Could we --

        4   A.   Actually seized --

        5             MR. DAVIS:    Could we put up on the screen 1 N, as in

        6   Neil?

        7             SPECIAL AGENT TWEHUES:           (Complied.)

        8   BY MR. DAVIS:

        9   Q.   Who is this person?

       10   A.   Arnulfo Espinel.

       11   Q.   What was Arnulfo Espinel -- was he involved in these loads

       12   that you were sending to Mexico?

       13   A.   Yes, sir.

       14   Q.   In what way?

       15   A.   Besides being an investor, he was also the individual

       16   responsible for having or making the contacts with the Mexican

       17   cartels so that the drugs would be received there and sell it

       18   and also to have the money brought back to Colombia.

       19   Q.   Once the drugs were sold to the people in Mexico --

       20             A JUROR:    Sorry.

       21   BY MR. DAVIS:

       22   Q.   Once the drugs were sold to the people in Mexico, what were

       23   the people in Mexico doing with the drugs?

       24   A.   They would bring it into the United States.

       25   Q.   You're saying that Fito was an investor?



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        1   A.   Yes, he was also an investor.

        2   Q.   Of those loads that you sent out by the ocean to Mexico,

        3   what percentage would you own?

        4   A.   It was also around 25 percent.

        5   Q.   What was your profit per kilo for the successful loads?

        6   A.   Between 3,000 and $3,500.

        7   Q.   Were your cousins, either Diego, Eugenio or Juan Carlos,

        8   involved in any of the loads?

        9   A.   The last one.

       10   Q.   By the way, the person on the screen, who is this again?

       11   A.   Arnulfo Espinel.

       12   Q.   What was his nickname?

       13   A.   Arnulfito.

       14   Q.   Was he also known as Fito?

       15   A.   Fito.

       16   Q.   I was asking you about whether your cousins, Diego, Eugenio

       17   and Juan Carlos, had a stake in any of these loads that you

       18   sent out to Mexico.

       19   A.   Yes, sir.

       20   Q.   Which load or loads?

       21   A.   The last one.

       22   Q.   What percentage or what portion of the last load did they

       23   own?

       24   A.   Almost 25 percent.

       25   Q.   How big was that load?



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        1   A.   3,100 kilos of cocaine.

        2   Q.   What happened to that load?         Was that load successful?

        3   A.   It was seized.

        4   Q.   Did the defendant own any portion of any of the loads that

        5   you sent out via the Colombian Pacific coast to Mexico?

        6   A.   He did, in the last one.

        7   Q.   What percentage did he own?

        8   A.   They actually were a group which included Guacamayo,

        9   Mamoncillo and Don Omar.

       10   Q.   How much did they own?

       11   A.   500 kilos of cocaine.

       12   Q.   Did they make any money off that load?

       13   A.   It was seized.

       14             MR. DAVIS:    Putting up on the screen 1 O, as in Oscar.

       15             SPECIAL AGENT TWEHUES:         (Complied.)

       16   BY MR. DAVIS:

       17   Q.   Who is that?

       18   A.   Carlos Robayo, Guacamayo.

       19   Q.   Is that the person you were referring to a few minutes ago?

       20   A.   Yes, sir.

       21             MR. DAVIS:    Putting up on the screen Exhibit 12 in

       22   evidence.

       23             SPECIAL AGENT TWEHUES:         (Complied.)

       24   A.   That's Mamoncillo and his brothers.             I don't recall the

       25   names of the others.



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        1   Q.   Which one of these three people in Exhibit 12 is

        2   Mamoncillo?

        3   A.   The one in the middle.

        4   Q.   Did you have another way of shipping cocaine to the United

        5   States via boat?

        6   A.   There was one using a merchant boat -- I'm sorry -- a

        7   commercial freight ship.

        8   Q.   By the way, a question I forgot to ask you about the loads

        9   that you sent out to Mexico:         During what time period were you

       10   sending those loads to Mexico?

       11   A.   From 1998 through 2003.

       12   Q.   When was the last load seized?

       13   A.   December 2003.

       14   Q.   What about the loads that you sent out by Kalita Airlines.

       15   What was the time frame for those?

       16   A.   Between '94 and '95.

       17   Q.   What about the loads you sent out via American Airlines?

       18   A.   Well, first it was American Airlines and then it was

       19   Kalita.

       20   Q.   What about the load that you helped your cousin, Eugenio,

       21   distribute in New York?

       22   A.   1995.

       23   Q.   By the way, all these dates that you're giving me, did you

       24   write them down in a diary as you were doing them?

       25   A.   No, no, no.    I didn't think of doing that, no.



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        1   Q.   So, the dates that you're giving us are the best of your

        2   recollection as are you sit here today?

        3   A.   Yes, sir.

        4   Q.   Talking about the last route that you had, the one that

        5   went to Miami via boat --

        6   A.   Yes, sir.

        7   Q.   -- when were you using that route?

        8   A.   When I was using --

        9   Q.   Sorry.   It was a bad question.

       10              During what time period were you sending cocaine to

       11   Miami via boat?

       12   A.   There were two trips that were done using those commercial

       13   freight ships that I mentioned to you.

       14   Q.   What time period?    What year, if you remember?

       15   A.   2002, 2003.

       16   Q.   How large were those loads?

       17   A.   150 kilos.

       18   Q.   Of?

       19   A.   Cocaine.

       20   Q.   And, once again, the drugs that you were shipping to Mexico

       21   via boat, what were those?

       22   A.   Cocaine.

       23   Q.   And the shipments that you were sending to Miami, how were

       24   you sending them to Miami?

       25   A.   On freight ships.



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        1   Q.   How were you smuggling them aboard freight ships?

        2   A.   We had an individual in Colombia.               I had a secretary by the

        3   name of Juanpi who had dealings with this man and he was the

        4   person responsible of introducing the drug into the containers,

        5   hide the drugs in there so that it could be taken out here in

        6   Miami.

        7   Q.   Of these two loads that you sent through the containers to

        8   Miami, how many of them were successful?

        9   A.   Only one.

       10   Q.   What happened to the second load?

       11   A.   It was seized.

       12   Q.   Where?

       13   A.   Here in the United States.

       14   Q.   What percentage of these loads did you own?

       15   A.   On the first one -- actually, on all of them, the largest

       16   percentage was mine.

       17   Q.   What was that?

       18   A.   On the first load, I had 140 kilos.

       19   Q.   What about the second load?

       20   A.   Okay.    On that first load, I owned 140 kilos.            The other 10

       21   kilos belonged to Guacamayo, Capachivo and Mamoncillo.

       22   Q.   How much did you stand to make per kilo on that first load?

       23   A.   About somewhere between 5,000 and 6,000 per kilo.

       24   Q.   What about the second load?         How much did you own on the

       25   second load?



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        1   A.   105 kilos.

        2   Q.   How much did you stand to make on the second load?

        3   A.   Between 600,000 and $700,000.

        4   Q.   Did the defendant own any percentage in the second load?

        5   A.   Yes, sir.

        6   Q.   What did he own?

        7   A.   10 kilos.

        8   Q.   Himself or with a group of people?

        9   A.   Along with Mamoncillo and Guacamayo.

       10   Q.   When you were organizing these routes, where were you

       11   living?

       12   A.   In Cali.

       13   Q.   Did there come a time you moved out of Cali?

       14   A.   Yes, sir.

       15   Q.   When was that?

       16   A.   Towards the end of 2003.

       17   Q.   Why did you move out of Cali towards the end of 2003?

       18   A.   Because of the war that had broken out with Varela.

       19              MR. DAVIS:     Could we put up on the screen 1 U?

       20              SPECIAL AGENT TWEHUES:           (Complied.)

       21   BY MR. DAVIS:

       22   Q.   When you left Cali, where did you move to?

       23   A.   Magdalena Medio.

       24              MR. DAVIS:     Can we put up on the screen 1 B?          I'm

       25   sorry.    3 B.



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        1              SPECIAL AGENT TWEHUES:         (Complied.)

        2              MR. DAVIS:    Could we focus in on the area between

        3   Medellin and Bogota?

        4              SPECIAL AGENT TWEHUES:         (Complied.)

        5   BY MR. DAVIS:

        6   Q.   Is Magdalena Medio located somewhere in that area on the

        7   screen?

        8   A.   It's close to La Dorada.        Magdalena Medio actually

        9   encompasses everything that has to do or that includes La

       10   Dorada, Puerto Boyaca.

       11              MR. DAVIS:    Can we put up on the screen 3 D, as in

       12   delta, and focus on the area between La Dorada and Puerto

       13   Boyaca?

       14              SPECIAL AGENT TWEHUES:         (Complied.)

       15   A.   Yes, sir.

       16   Q.   Do you have the area that you would refer to as Magdalena

       17   Medio on the screen?

       18   A.   Yes, sir.

       19   Q.   Describe one of the cities that you would consider to be

       20   part of Magdalena Medio that are on the screen?

       21   A.   La Dorada and Puerto Boyaca.

       22   Q.   Approximately what month and what year did you move up to

       23   Magdalena Medio?

       24   A.   In October.

       25   Q.   Of what year?



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        1   A.   2003.

        2   Q.   Where were you living when you were arrested?

        3   A.   Nearby close to Puerto Boyaca.

        4   Q.   Remind us of the date that you were arrested.

        5   A.   2003, December 29.

        6   Q.   At some time after your arrest, were you eventually

        7   extradited to the United States?

        8   A.   Certainly, yes, sir.

        9   Q.   Because of a criminal case here in Miami?

       10   A.   Yes, sir.

       11   Q.   What were you charged with?

       12   A.   Drug trafficking.

       13   Q.   How did you resolve the case?             Did you go to trial or did

       14   you plead guilty?

       15   A.   I pled guilty.

       16   Q.   Approximately when?

       17   A.   In 2006.

       18   Q.   Could it have been 2005?

       19   A.   Yes, sir.

       20   Q.   Have you been sentenced?

       21   A.   Yes, sir.

       22   Q.   What was the sentence?

       23   A.   236 months.

       24   Q.   Who was the Judge who sentenced you?

       25   A.   Her Honor, Judge Altonaga.



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        1              MR. DAVIS:    Putting back on the screen 1 F, as in

        2   foxtrot.

        3              SPECIAL AGENT TWEHUES:         (Complied.)

        4   BY MR. DAVIS:

        5   Q.   Remind us who this person is.

        6   A.   Ivan Urdinola.

        7   Q.   When did you first meet him?

        8   A.   The first time I saw him was in 1990 and then afterwards.

        9   Q.   Where would you see him?

       10   A.   At the Milan estate.

       11   Q.   How frequently were you going up to Milan?

       12   A.   Every time that Diego would go there, so that was pretty

       13   frequent.

       14   Q.   What was Diego's and Ivan's relationship like?

       15   A.   Very close, almost like brothers.

       16   Q.   What about their trafficking relationship?

       17   A.   They were partners.

       18   Q.   When you were up at Milan with Diego visiting Ivan, how

       19   frequently would you see the defendant?

       20   A.   Always.

       21   Q.   What would the defendant be doing?

       22   A.   He ran a security team for Mr. Ivan Urdinola.

       23   Q.   What would you see him doing?

       24   A.   He was a bodyguard.

       25   Q.   You were saying that Milan had a landing strip?



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        1   A.   Yes, sir.

        2   Q.   Was this a paved or unpaved landing strip?

        3   A.   It was paved.

        4   Q.   Were there any buildings out by the landing strip?

        5   A.   Yes, sir.    It did have a hangar.

        6   Q.   When you were visiting Milan frequently, would you go out

        7   to the landing strip?

        8   A.   Every time that we went up there, we would go to the

        9   airstrip.

       10   Q.   For what purpose?

       11   A.   Ivan Urdinola would give cocaine to Diego for Diego to

       12   process it in his laboratories.

       13   Q.   After Diego would process it in his laboratories, where

       14   would he take it?

       15   A.   It would be taken either to stash locations or to Milan so

       16   that it could be shipped off to Mexico.

       17   Q.   How would it be shipped off to Mexico?

       18   A.   By airplanes.

       19   Q.   When this cocaine was being shipped off to Mexico via

       20   airplanes, where would you be?

       21   A.   I was with Diego.

       22   Q.   Where?

       23   A.   In Milan.

       24   Q.   Where in Milan?

       25   A.   In Zarzal, in the North Valley.



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        1   Q.    In what portion of Milan, in what particular area of Milan?

        2   A.    By the airstrip.

        3   Q.    When you were at the airstrip with Diego, where would Ivan

        4   be?

        5   A.    Also at the airstrip, along with Diego.

        6   Q.    Where would the defendant be?

        7   A.    This defendant?

        8   Q.    Where would the defendant be?

        9   A.    He was there providing security by the airstrip, security

       10   for Ivan Urdinola.

       11   Q.    How frequently would this happen?

       12   A.    Always.

       13   Q.    When the defendant was out providing security for Ivan on

       14   the airstrip, how many bodyguards was he supervising?

       15   A.    30 bodyguards, approximately 30.

       16   Q.    What were you doing out at the airstrips when these flights

       17   were taking off?

       18   A.    Also security.

       19   Q.    For whom?

       20   A.    For Diego Montoya.

       21   Q.    In your early days working for Diego, did you learn of

       22   someone, a drug dealer known as Payaso?

       23   A.    Yes, sir.

       24   Q.    Who did Payaso work for?

       25   A.    For Orlando Henao.



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        1             MR. DAVIS:     Could we put up on the screen 1, V as in

        2   Victor?

        3             SPECIAL AGENT TWEHUES:         (Complied.)

        4   BY MR. DAVIS:

        5   Q.    Who was that?

        6   A.    Orlando Henao.

        7   Q.    What was Orlando Henao's business?

        8   A.    Drug trafficking.

        9   Q.    During the time when you first started working for your

       10   cousin, Diego, was Orlando Henao a significant drug trafficker?

       11   A.    Yes, sir.

       12   Q.    How significant?

       13   A.    Well, he was the head of the North Valley Cartel.

       14   Q.    How significant was he in comparison to Ivan Urdinola?

       15   A.    I didn't understand your question.

       16   Q.    You were saying that Ivan Urdinola was like a kingpin.

       17   A.    Yes, sir.

       18   Q.    Does that description describe -- does that term describe

       19   Orlando Henao's position at the time?

       20   A.    Yes, yes, sir.

       21   Q.    In what geographical area was Orlando Henao operating out

       22   of?

       23   A.    North Valley.

       24   Q.    What was Payaso's position with Orlando Henao?

       25   A.    He worked for Orlando Henao.        He was a man of a lot of



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        1   trust by Orlando Henao.

        2   Q.   Do you know if he was a transporter or an enforcer?

        3   A.   He was an enforcer.

        4              MR. DAVIS:   Putting up on the screen 1 U.

        5              SPECIAL AGENT TWEHUES:        (Complied.)

        6   BY MR. DAVIS:

        7   Q.   During this time period, what was -- by the way, I put

        8   words in your mouth.     Who was this again?

        9   A.   Wilber Varela.

       10   Q.   During the time period when you first started working for

       11   Diego, what was Wilber Varela's association with Payaso?

       12   A.   They were close friends.

       13   Q.   Did they work together?

       14   A.   Yes, sir.

       15   Q.   When you were working for Diego, did you come to learn of a

       16   dispute that Diego had with Payaso?

       17   A.   Yes, sir.

       18   Q.   Where were you when you first learned of the existence of

       19   this dispute between Diego and Payaso?

       20   A.   At a cocaine laboratory close to Zarzal which was called El

       21   Treinta.

       22              MR. DAVIS:   Can we put up on the screen 3 C, as in

       23   Charlie, and circle around the area of Zarzal?

       24              SPECIAL AGENT TWEHUES:        (Complied.)

       25   BY MR. DAVIS:



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        1   Q.    And Treinta was where on this map?

        2   A.    About 10 or 15 minutes from Zarzal.

        3   Q.    You were at a lab called Treinta or 30?

        4   A.    Yes, sir.

        5   Q.    How was it that you learned of this dispute between Diego

        6   and Payaso?

        7   A.    We were in the lab.    Diego Montoya called an uncle of mine

        8   who was with us there at the laboratory and he gave the order

        9   to go out to the roadway with some men, and I was included in

       10   them, to set up a checkpoint and to kill Payaso.

       11   Q.    Was it a runway or a highway that Diego told you to go out

       12   to?

       13   A.    To the roadway, to the roadway where the cars go.

       14   Q.    Where was Payaso supposedly coming from?

       15   A.    From Cartago.

       16   Q.    Is Cartago on the map?

       17   A.    Yes, sir.

       18   Q.    Where is it relative to Zarzal?

       19   A.    A little bit further north.

       20             MR. DAVIS:    Can we highlight Cartago, please?

       21             SPECIAL AGENT TWEHUES:         (Complied.)

       22   BY MR. DAVIS:

       23   Q.    Where was Payaso supposedly traveling to?

       24   A.    Well, it wasn't specifically Cartago where the problem came

       25   up.   It was close to Cartago.



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        1   Q.   Where was he traveling, supposedly traveling to?

        2   A.   To Cali.

        3               MR. DAVIS:   Can we put up on the screen 8 A?

        4               SPECIAL AGENT TWEHUES:       (Complied.)

        5               MR. DAVIS:   If we could zoom in on the area between

        6   Cartago and Cali.

        7               SPECIAL AGENT TWEHUES:       (Complied)

        8               MR. DAVIS:   If we could highlight Cartago and Cali.

        9               SPECIAL AGENT TWEHUES:       (Complied.)

       10   BY MR. DAVIS:

       11   Q.   Remind us who was the uncle, what was the name of the uncle

       12   that your cousin, Diego, called?

       13   A.   Luis Eduardo Sanchez.

       14   Q.   What did you refer to him as?

       15   A.   The uncle, El Tio.

       16   Q.   Tio Luis?

       17   A.   Yes.

       18   Q.   When Diego called Tio Luis, what did you do?

       19   A.   I went along with Tio Luis to the roadway in order to wait

       20   for Payaso to come by.

       21   Q.   Were you armed or unarmed?

       22   A.   Armed.

       23   Q.   If you had seen Payaso, what would you have done?

       24   A.   I would have killed him.

       25   Q.   How long were you out at the roadway?



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        1   A.   For about two hours.

        2   Q.   Did you see Payaso?

        3   A.   No, sir.

        4   Q.   Why did you leave?

        5   A.   Because my cousin, Diego, told us that we should go to the

        6   estate, to Milan.

        7   Q.   What did he tell you about what had happened to Payaso?

        8   A.   Diego explained to us while Ivan Urdinola was there present

        9   and as Mr. Capachivo was there as well that there had been an

       10   argument in a place called Las Piramides.

       11   Q.   Before you get there, where was Diego giving you this

       12   explanation?

       13   A.   At Milan.

       14   Q.   Was this after he had called Tio Luis and told you guys to

       15   get to Milan?

       16   A.   Yes, sir.

       17   Q.   How did you get to Milan?

       18   A.   By car.

       19   Q.   Was this daytime or nighttime?

       20   A.   Nighttime.

       21   Q.   When you get to Milan, who was present?

       22   A.   Diego was there, Ivan Urdinola and Mr. Capachivo.

       23   Q.   Who was talking?

       24   A.   Diego.

       25   Q.   Step by step, I'd like you to explain what Diego told you



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        1   with the defendant present?

        2   A.   That there had been a problem with Payaso at that place

        3   called Las Piramides where Payaso assaulted him.

        4   Q.   What type of place is Las Piramides?

        5   A.   Well, it's like a vacation place where you have pools and

        6   things like that.

        7   Q.   Where is Las Piramides located?

        8   A.   Almost getting close to Cartago.

        9   Q.   What had Diego been doing in Las Piramides?

       10   A.   They were there for a birthday.

       11   Q.   What was Payaso doing there?

       12   A.   He was there also for that same birthday.

       13   Q.   What types of people were at this birthday party?         Were

       14   there a lot of drug traffickers there that night?

       15   A.   There were many drug traffickers, yes.

       16   Q.   So, Diego was telling you about a dispute or something that

       17   Payaso did to him.     Please continue.

       18   A.   Well, that he had assaulted him, that he had slapped him on

       19   his face and had threatened him.

       20   Q.   What was this dispute about?

       21   A.   Because at that time Diego had war with the

       22   narco-guerrillas, the ELN, and Payaso was helping Diego in that

       23   war and that Diego had not paid him some money that he was to

       24   pay him.

       25   Q.   So, what did Payaso do because of the fact that Diego had



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        1   owed him money?

        2   A.   Sort of threatened him and slapped him on his face.

        3   Q.   Who were the types of people present witnessing this when

        4   Diego was getting slapped in the face?

        5   A.   From what I understand, Ivan Urdinola.

        6   Q.   Were there any other drug traffickers who saw this

        7   confrontation?

        8   A.   Arcangel Henao, Henry Loaiza, El Alacran, or the scorpion.

        9   Q.   What was Diego's reaction to all of this?

       10   A.   What I understand at that time was that Diego also reacted.

       11   It seems that they aimed their weapons at each other, but

       12   nothing else happened there and that's when Diego calls us to

       13   give us the authorization -- calls my uncle Luis -- so that

       14   we'd go out to the road, for us to wait there for Payaso to

       15   come by.

       16   Q.   So, is this the explanation that Diego was giving to you at

       17   Milan?

       18   A.   Yes, sir.

       19   Q.   When Diego was giving you this explanation, where is the

       20   defendant?

       21   A.   He was there present.

       22   Q.   Continue.   What else did Diego tell you at Milan?

       23   A.   That's when the authorization was being given to Mr. Omar

       24   Garcia, Capachivo, to kill Payaso.

       25   Q.   Where was Ivan when this authorization was given to



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        1   Capachivo to kill Payaso?

        2   A.   Present there at Milan.

        3   Q.   What did Ivan say when this authorization went out?

        4   A.   He gave the authorization to Mr. Capachivo so that he would

        5   go and kill Payaso.

        6   Q.   At that time who did Capachivo work for?

        7   A.   For Ivan Urdinola.

        8   Q.   What was Capachivo's reaction when Ivan gave this

        9   authorization to go and kill Payaso?

       10   A.   To go ahead and execute the operation.

       11   Q.   Where was Payaso believed to be at the time?

       12   A.   In Cali.

       13   Q.   So, he evaded your roadblock you had out by Zarzal?

       14   A.   Yes, sir.

       15              THE COURT:   Could we give the jury a morning recess?

       16              MR. DAVIS:   Absolutely.

       17              THE COURT:   Ladies and gentlemen, we'll take 10

       18   minutes.   Please don't discuss the case.

       19              THE COURT SECURITY OFFICER:           All rise for the jury.

       20        [There was a short recess at 10:55 p.m.].

       21              THE COURT:   Bring the jury in.

       22        [The jury returns to the courtroom at 11:16 p.m.]

       23              THE COURT:   Everyone please be seated.

       24   BY MR. DAVIS:

       25   Q.   Before the break, Mr. Toro Sanchez, you were telling us



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        1   about the plan to murder Payaso.

        2   A.   Yes, sir.

        3   Q.   Now, remind us again where you were when you first learned

        4   that there was a problem.

        5   A.   We were at Treinta.

        6   Q.   Which is a what?

        7   A.   It's a cocaine lab.

        8   Q.   How close is Treinta to Milan?

        9   A.   10, 15 minutes away.

       10   Q.   Who were you with at the time?

       11   A.   I was with my uncle Luis.

       12   Q.   After you learned of the problem, remind us where you went.

       13   A.   To the Milan estate.

       14   Q.   Before you went to Milan, did you spend some time out on

       15   the roadway?

       16   A.   Yes, sir, we were on the road.

       17   Q.   For how long?

       18   A.   For approximately one or two hours waiting for Payaso to go

       19   by so we could murder him.

       20   Q.   And when you failed to intercept Payaso, where did you go

       21   next?

       22   A.   We went to the Milan estate.

       23   Q.   Who was there?

       24   A.   Tio, Luis and I.

       25   Q.   Who did you meet there?



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        1   A.   With Ivan Urdinola, Diego Montoya and Omar Garcia,

        2   Capachivo.

        3   Q.   Do you remember the approximate year that this took place?

        4   A.   Yeah, that was around 1993 or a little later, around that

        5   time.

        6   Q.   Did you record this in a calendar or a diary?

        7   A.   No, sir.

        8   Q.   So, you're giving us the date to the best of your

        9   recollection?

       10   A.   Yes, sir.

       11   Q.   Of the things that you have been telling us about, how

       12   important was the date to you at the time?

       13   A.   Excuse me?    Excuse me?

       14   Q.   How important was it to you at the time to try to remember

       15   the exact date of this meeting?

       16   A.   Well, that was an important event for the -- for Orlando

       17   Henao's organization.

       18   Q.   But at the time you had that meeting, was it important for

       19   you to record in a diary the exact date of the meeting?

       20   A.   No, sir.

       21   Q.   What was going on was more important?

       22   A.   Exactly, yes, sir.

       23   Q.   You were saying that this was important for Orlando Henao.

       24              MR. DAVIS:    Could we put on the screen 1 V, as in

       25   Victor?



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        1              SPECIAL AGENT TWEHUES:         (Complied.)

        2   BY MR. DAVIS:

        3   Q.   Who is that?

        4   A.   Orlando Henao.

        5   Q.   At the time of this murder plan, what was Payaso's

        6   association to Orlando Henao?

        7   A.   He was a highly trusted individual in the organization.

        8   Q.   What was Orlando Henao's position in the North Valley

        9   Cartel?

       10   A.   Well, he was actually the head of the North Valley Cartel.

       11              MR. DAVIS:    Can we do a side-by-side and pull up 1 F,

       12   as in foxtrot, please?

       13              SPECIAL AGENT TWEHUES:         (Complied.)

       14   BY MR. DAVIS:

       15   Q.   Remind us who this is.

       16   A.   Ivan Urdinola.

       17   Q.   At the time the order went out to murder Payaso, what was

       18   Ivan Urdinola's association with the defendant?

       19   A.   Capachivo was one of Ivan Urdinola's workers.

       20   Q.   What was Ivan Urdinola's position in the North Valley

       21   Cartel at the time?

       22   A.   He was a high-level kingpin of the North Valley Cartel.

       23   Q.   At the time that Ivan Urdinola gave the authorization to

       24   the defendant to go murder Payaso, had he received Ivan

       25   Urdinola's permission?



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        1   A.   No, sir.

        2   Q.   Was that an issue of concern for the people at the meeting

        3   at the Milan?

        4   A.   Yes, sir.

        5   Q.   What was explained?

        6   A.   To who.

        7   Q.   Who discussed this problem when you were at this meeting at

        8   Milan?

        9   A.   Well, the authorization came from Ivan Urdinola to

       10   Mr. Capachivo and Diego Montoya was there, along with Tio Luis

       11   and myself.

       12   Q.   You were telling us a few seconds ago that the fact that

       13   Ivan Urdinola had not received Orlando Henao's permission

       14   before putting out the order to murder one of his people was a

       15   problem.

       16   A.   That was going to be a problem, yes.

       17   Q.   Was that something that was discussed when all of you folks

       18   were together at Milan that night?

       19   A.   Yes, sir.

       20   Q.   Who said what?

       21   A.   How do you mean?    Said what about what?

       22   Q.   Who was discussing the fact that this was a potential

       23   problem?

       24   A.   This was a discussion between Diego and Don Ivan.

       25   Q.   Who was present when they were having this discussion?



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        1   A.   Capachivo was there, Tio was there and I was there.

        2   Q.   What were Diego and Ivan saying about this problem?

        3   A.   That by having Payaso killed, that was going to make

        4   Orlando Henao very angry because he was a highly trusted

        5   associate of -- and that might give rise to a war.

        6   Q.   What instructions did -- did Diego or Ivan give any

        7   instructions on what should happen if the defendant were

        8   successful in killing Payaso that night?

        9   A.   Yes, of course.    Yes, sir.

       10   Q.   What did they say?

       11   A.   They gave Capachivo the order to murder Payaso.

       12   Q.   You were saying that they indicated there could be a

       13   problem --

       14   A.   Yes.

       15   Q.   -- if Capachivo succeeded.

       16   A.   Yes, sir.

       17   Q.   So, what warning did they give?

       18   A.   That if Capachivo was successful in murdering Payaso in the

       19   early morning hours of that day, then we all must be very

       20   careful.

       21   Q.   Because?

       22   A.   Because Orlando Henao's reaction could be that he would

       23   have some of us murdered then.

       24   Q.   After this meeting concluded, where did the defendant go?

       25   A.   He went to execute the orders issued to him by Diego



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        1   Montoya.

        2   Q.   Where specifically did he go?

        3   A.   Cali.

        4   Q.   Where did you go?

        5   A.   I went with my uncle, Luis, to the lab at Treinta.

        6   Q.   Where were you the next time you heard of any news about

        7   what had happened with this plan?

        8   A.   That was the next day at the lab.

        9   Q.   Who did you learn this news from?

       10   A.   Tio Luis.

       11   Q.   Where did he learn the news from?

       12   A.   Because Diego called him and told him.

       13   Q.   What did he tell him?

       14   A.   That we should go back to Milan because Payaso's murder had

       15   been done.

       16   Q.   By whom?

       17   A.   Mr. Capachivo.

       18   Q.   Where was Capachivo the next time you saw him?

       19   A.   At Milan.

       20   Q.   Who was present?

       21   A.   Well, Diego Montoya was there along with Juan Carlos

       22   Montoya, Tio Luis, Ivan Urdinola, Omar Garcia and myself.

       23   Q.   What was the purpose of this meeting?

       24   A.   For Capachivo to give us his report as to what had happened

       25   with Payaso and to take the security measures necessary from



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        1   that moment forward in preparations for whatever Orlando

        2   Henao's reaction might be.

        3   Q.   Did Capachivo give a report of what had happened?

        4   A.   Yes, he gave his report to Ivan Urdinola and Diego Montoya.

        5   Q.   Where were you when he gave his report to Ivan Urdinola and

        6   Diego Montoya?

        7   A.   At Milan.

        8   Q.   What did the defendant report to them?

        9   A.   That he had executed Mr. Payaso at an apartment in Cali

       10   where he was with his wife and a daughter, that he had moved

       11   the wife and daughter to another room.                He executed Mr. Payaso

       12   and his bodyguard.

       13   Q.   Did the defendant say whether he had done it or whether

       14   some of his workers had done it.

       15   A.   He stated that he, himself, had been present.

       16   Q.   Where were you the next time you discussed this with Diego?

       17   A.   At Treinta in the lab.

       18   Q.   Who was present?

       19   A.   Tio Luis, Juan Carlos, Diego Montoya and myself.

       20   Q.   Where was Capachivo?

       21   A.   No, he wasn't.

       22              THE INTERPRETER:     (Indicating.)

       23   A.   Well, apparently, he was in hiding because that's what had

       24   been discussed at the meeting before, everybody take care and

       25   lay low.



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        1   Q.   What was the purpose of this meeting you had at Treinta

        2   with Diego, Juan Carlos and Tio Luis?

        3   A.   That was a family-type of reunion, the members of the

        4   family, so that we could take the appropriate security measures

        5   because we were fearful that Orlando Henao might make some kind

        6   of an attempt against one of us because Ivan Urdinola had

        7   already told him that Orlando Henao was very upset because of

        8   that.

        9   Q.   This was a pretty bold step that Diego and Ivan had taken

       10   by having Payaso killed?

       11   A.   Yes, sir.

       12   Q.   Where were you the next time you saw the defendant?

       13   A.   You mean, after that?

       14   Q.   Yes, the next time you saw the defendant.        Where did you

       15   see the defendant next?

       16   A.   That was at a -- it was at a car auction location in Cali

       17   where Orlando Henao, Diego Montoya, Ivan Urdinola and

       18   Mr. Capachivo were.

       19   Q.   Was this like an office?

       20   A.   Yes, sir.

       21   Q.   Whose office was it?

       22   A.   Ivan Urdinola's.

       23   Q.   What was the purpose of this meeting?

       24   A.   The purpose was to have a meeting with Orlando Henao so

       25   that we would not engage in a long war.



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        1   Q.   By the way, were Orlando Henao and Ivan Urdinola related in

        2   any way?

        3   A.   Yes, sir.

        4   Q.   How?

        5   A.   Brothers-in-law.

        6   Q.   How was it that they were brothers-in-law?

        7   A.   Because Ivan Urdinola was married to Lorena Henao, who is

        8   Orlando Henao's sister.

        9   Q.   And that family relationship potentially contributed to

       10   their ability to avoid a war?

       11   A.   Yes, sir, 100 percent.

       12   Q.   Were you present in the room when this meeting took place?

       13   A.   Yes, sir, but not inside where the conversation was taking

       14   place.   Rather, outside as a bodyguard.

       15   Q.   Were there other bodyguards there?

       16   A.   Yes, sir.

       17   Q.   So, who was inside where the conversation took place?

       18   A.   Diego Montoya, Ivan Urdinola, Orlando Henao and Mr. Omar

       19   Garcia Capachivo.

       20   Q.   Did there come a time when you learned what was discussed

       21   at this meeting?

       22   A.   Yes, sir.

       23   Q.   When did this happen?

       24   A.   Yes, I found out after the meeting.             That was at a parking

       25   garage that belonged to Diego Montoya where there was also an



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        1   office.     We went there and Omar Garcia Capachivo went there as

        2   well.

        3   Q.   Did this parking garage have a nickname or a name?

        4   A.   115.

        5               MR. DAVIS:   Putting up on the screen 4 F, as in

        6   foxtrot.

        7               SPECIAL AGENT TWEHUES:       (Complied.)

        8   BY MR. DAVIS:

        9   Q.   Do you recognize the location depicted on these pictures?

       10   A.   Yes, sir.

       11   Q.   What is that?

       12   A.   That's the entry gate into the 115 parking lot.

       13   Q.   Okay.    So, that's the place where you all met to discuss

       14   what had happened at this meeting?

       15   A.   Excuse me?

       16   Q.   Is this the location where Diego and Ivan told you what had

       17   happened at that meeting?

       18   A.   No, Don Ivan was not there.

       19   Q.   Who was there?

       20   A.   Present were Juan Carlos, Eugenio, Diego Montoya, Capachivo

       21   and myself.

       22   Q.   Who gave the report?

       23   A.   Diego.

       24   Q.   What did he tell you?

       25   A.   That during the meeting they had come to an agreement that



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        1   Don Orlando would not take any reprisals because of Payaso's

        2   murder.

        3             MR. DAVIS:    Could we put up on the screen 1 A, as in

        4   alpha?

        5             SPECIAL AGENT TWEHUES:         (Complied.)

        6   BY MR. DAVIS:

        7   Q.   Remind us who that is.

        8   A.   Diego Montoya, my cousin.

        9             MR. DAVIS:    Now, could we put back on the screen 1 V,

       10   as in Victor, to the side.

       11             SPECIAL AGENT TWEHUES:         (Complied.)

       12   BY MR. DAVIS:

       13   Q.   Now, who is on the screen again on the right side?

       14   A.   Orlando Henao.

       15   Q.   Was the fact that your cousin, Diego, had gotten away with

       16   murdering one of Orlando Henao's workers and not being murdered

       17   himself a significant accomplishment?

       18   A.   Yes, sir.

       19   Q.   Explain why.

       20   A.   Because by making an attempt against the life of one of the

       21   members of the Henao organization, he being a kingpin of the

       22   North Valley Cartel, that gave Diego a certain renown or a

       23   certain reputation within the North Valley Cartel.          That was a

       24   very bold move that no one would have ever taken against

       25   Orlando Henao.



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        1   Q.   What impact did that all have on Diego's power within the

        2   North Valley Cartel?

        3   A.   Well, actually that catapulted him into becoming the most

        4   important man within the North Valley Cartel.

        5   Q.   Why was that?

        6   A.   Well, you know, it wasn't really an easy thing to call one

        7   of Orlando Henao's workers and someone so close to him.

        8   Q.   When, approximately, was the Payaso murder?

        9   A.   Sometime around 1993, more or less.

       10   Q.   When did Ivan Urdinola go to jail?

       11   A.   From around that time, sometime later, I think.

       12   Q.   Close in time to the Payaso murder?

       13   A.   I don't remember so well, sir.            I do not.

       14   Q.   Within at least a few years?

       15   A.   No, not that either.

       16   Q.   When was it that Ivan Urdinola went to jail, to the best of

       17   your recollection?

       18   A.   In what year?

       19   Q.   Yes.

       20   A.   It was sometime around '93, or actually after '93.

       21   Q.   Before '96?

       22   A.   Yes, sir.

       23   Q.   By the time that Ivan Urdinola went to jail, who had taken

       24   over Milan?

       25   A.   Mr. Octavio Pabon and Diego Montoya.



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        1   Q.   After Payaso was murdered, did you notice any change in

        2   Diego's relationship with the defendant?

        3   A.   Yes, sir.

        4   Q.   What did you start to notice?

        5   A.   That the friendship was consolidated more between Capachivo

        6   and Diego Montoya.

        7   Q.   Why do you say that?     What did you notice?

        8   A.   Because Capachivo then became part of the Diego Montoya,

        9   Organization for him to be in charge of the hit men and

       10   security for Diego Montoya.

       11   Q.   What sort of jobs was Diego Montoya giving to Capachivo?

       12   A.   Security, and also in the clandestine airstrips in Milan

       13   and also to go collect on the drug trafficking debts.

       14   Q.   You're saying that Diego would send the defendant out to

       15   start collecting for him?

       16   A.   Yes, sir.

       17   Q.   How do you know that?

       18   A.   Because on one day while I was there with Diego, I heard

       19   him giving orders to Capachivo to go and collect on some money

       20   that was owed to him.

       21   Q.   Do you remember the specific incident this involved?

       22   A.   Yes, sir.

       23   Q.   How would the money become owed to Diego?        What would

       24   happen to that money?

       25   A.   A load of cocaine was stolen from Diego and that was



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        1   approximately 1,000 or 1,500 kilos, and, so, Diego gave the

        2   order to Capachivo to recover that, those drugs or that drug

        3   that had been stolen.

        4   Q.   Do you remember the approximate time frame of this

        5   incident?

        6   A.   Yes, sir.   That was around '94.

        7   Q.   What did Diego order the defendant to do?

        8   A.   He provided him with ballistics, in other words, weapons

        9   and also money to go ahead and recover that drug that had been

       10   stolen, to recover that shipment, that load.

       11   Q.   Where were you when Diego gave those orders?

       12   A.   We were at Milan.

       13   Q.   Were you ever present when the defendant came back to

       14   report on what had happened?

       15   A.   Yes, sir.

       16   Q.   Where was Diego when the defendant gave the report?

       17   A.   At Milan.

       18   Q.   Where were you?

       19   A.   With Diego.

       20   Q.   Where was the defendant?

       21   A.   Also at Milan with us, giving Diego the report.

       22   Q.   What was the report that the defendant gave to Diego in

       23   your presence?

       24   A.   That he had already located certain individuals who had

       25   stolen that load and that certain individuals had been murdered



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        1   and that part of the load that had been stolen had been

        2   recovered, and the last or the one who was still missing was

        3   the head of that group who had stolen that load.

        4   Q.   Did there come a time that the defendant came back to give

        5   Diego a second report?

        6   A.   Yes, sir.

        7   Q.   Where were you when the defendant came back to give Diego

        8   the second report?

        9   A.   With Diego at Milan.

       10   Q.   What did the defendant report to Diego at Milan in your

       11   presence?

       12   A.   That he had already murdered the head of that gang that had

       13   stolen the drugs from Diego Montoya.

       14   Q.   When you were working for Diego, were you aware of an

       15   incident with someone named Luigi?

       16   A.   Yes, sir.

       17   Q.   What did that incident involve?

       18   A.   Some money was sealed in containers coming from Miami to

       19   Colombia.    That was money, proceeds from the drug trafficking.

       20   Q.   How much money had been seized?

       21   A.   $15 million.

       22   Q.   How much of that $15 million belonged to Diego?

       23   A.   $3 million.

       24   Q.   What was this person, Luigi's, involvement or association

       25   with this problem?



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        1   A.   Because he was the one who was in charge of money

        2   laundering that money that would come from the United States to

        3   Colombia.

        4   Q.   Who were you with when you first learned about this

        5   problem?

        6   A.   Diego, Juan Carlos, Eugenio, Gogo and myself.

        7              MR. DAVIS:   Starting with -- let's take these pictures

        8   down -- 1 C, as in Charlie.

        9              SPECIAL AGENT TWEHUES:        (Complied.)

       10   BY MR. DAVIS:

       11   Q.   Who is that?

       12   A.   Juan Carlos Montoya, my cousin.

       13              MR. DAVIS:   1 D, as in delta.

       14              SPECIAL AGENT TWEHUES:        (Complied.)

       15   BY MR. DAVIS:

       16   Q.   Who that?

       17   A.   Diego Montoya, my cousin.

       18              MR. DAVIS:   Lastly, 1 L.

       19              SPECIAL AGENT TWEHUES:        (Complied.)

       20   Q.   Who is that?

       21   A.   James Giraldo, a/k/a Gogo.

       22   Q.   After you were advised of this problem, where did you go

       23   next?

       24   A.   From there, we went on to that parking lot, 115, where

       25   Capachivo was called.



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        1              MR. DAVIS:   One moment.

        2              Could we put on the screen 4 F, as in foxtrot, and

        3   let's focus on the top photo.

        4              SPECIAL AGENT TWEHUES:        (Complied.)

        5   BY MR. DAVIS:

        6   Q.   What is this again?

        7   A.   Yes, that is the parking lot of 115.

        8   Q.   Before we get to the meeting, because when you were working

        9   for Diego, did this parking lot always look like this?

       10   A.   Yes, sir.

       11   Q.   It didn't look like a particularly nice place.

       12   A.   Well, inside it was a parking area and there was an office.

       13   Q.   Well, was it -- did it look from the outside like it was a

       14   luxurious place?

       15   A.   No.

       16   Q.   Why would you be picking this location for meetings?

       17   A.   Because it was an operation center for Diego Montoya and

       18   his organization.

       19   Q.   Did Diego like to have nice things?

       20   A.   Yes, sir.

       21   Q.   If Diego liked to have nice things, why would he have his

       22   operation center in a location that looked like this?

       23   A.   Well, because from the outside that was like a facade so it

       24   wouldn't call attention from other people or the police.

       25   Q.   So, you're saying after you learned of this problem, you



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        1   went to 115.     What happened at 115?

        2   A.   There we got together with Mr. Capachivo and Diego gave him

        3   the authorization for him to coordinate with James Giraldo the

        4   location, the kidnapping of that individual, Luigi, and all of

        5   the property and belongings that this individual, Luigi, had

        6   along with his family in order to be able to recover the money

        7   that had been lost or seized.

        8   Q.   Was there any concern about moving quickly?

        9   A.   Yes, sir.

       10   Q.   Why was that?

       11   A.   Because aside from the $3 million that belonged to Diego,

       12   there was other money that belonged to Victor Patino Fomenque

       13   and Juan Carlos Ramirez Abadia, a/k/a Chupeta.

       14   Q.   An what was the concern?

       15   A.   The concern was that they first had to kidnap Luigi, his

       16   family and to be able to first take over the properties that

       17   this individual had, or his belongings.

       18             MR. DAVIS:    Putting up on the screen for

       19   identification only Exhibit 22 A.

       20    [Government Exhibit 22 A marked for identification          11:55 at

       21                                  p.m.].

       22             SPECIAL AGENT TWEHUES:         (Complied.)

       23   BY MR. DAVIS:

       24   Q.   Do you recognize that person?

       25   A.   Yes, sir.



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        1   Q.   Who is that?

        2   A.   Victor Patino Fomenque.

        3              MR. DAVIS:    Offer 22 A.

        4              MR. DIAZ:    No objection.

        5              THE COURT:    Admitted.

        6    [Government Exhibit 22 A received in evidence at 11:56 p.m.]

        7              MR. DAVIS:    If we could do a side-by-side and put up

        8   on the screen 1 E, as in echo.

        9   BY MR. DAVIS:

       10   Q.   Who is this?

       11   A.   Juan Carlos Ramirez Abadia, a/k/a Chupeta.

       12   Q.   Were these the other people who had money lost on that

       13   load?

       14   A.   Yes, sir.

       15   Q.   What was Victor Patino Fomenque's business?

       16   A.   He was a transporter.      He was a drug dealer.

       17   Q.   Which picture is the one of Victor Patino, the one on the

       18   left or the one on the right?

       19   A.   The left.

       20   Q.   And tell us who is on the right.

       21   A.   Juan Carlos Ramirez Abadia, a/k/a Chupeta.

       22   Q.   What was his business?

       23   A.   He was also a big drug dealer.

       24   Q.   After Diego gave this order to the defendant to go kidnap

       25   Luigi's family, were you present when a report was provided



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        1   back to Diego by the defendant?

        2   A.   Yes, sir.

        3   Q.   How many?   How many reports?

        4   A.   Several.

        5   Q.   How frequently was the defendant reporting back to Diego

        6   about the status of this operation?

        7   A.   Once Capachivo went ahead and took over the properties that

        8   belonged to Luigi and also to kidnap Luigi, the meetings

        9   between Diego and Capachivo were constant so that Capachivo

       10   would submit the reports that he had to submit.

       11   Q.   What was he reporting about?

       12   A.   To give a report on the properties and belongings that we

       13   already had in our possession, and it would seem that in those

       14   properties and people that belonged to Chupeta's group and

       15   Victor Patino's group were also going to those properties in

       16   order to take possession, but he already had armed people there

       17   at those properties and, therefore, the people that came from

       18   Victor Patino and Carlos, Chupeta, they couldn't do anything.

       19   Q.   So, was Diego able to recover the debt?

       20   A.   Yes, sir.

       21   Q.   Was Luigi killed or allowed to live?

       22   A.   He was not killed.     He was released.

       23   Q.   Because?    Why is that?

       24   A.   Because Capachivo had kidnapped him based on orders given

       25   by Diego and Diego's debt was recovered.



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        1   Q.   So, once Diego's debt was recovered, Luigi was allowed to

        2   live?

        3   A.   Yes, sir.

        4             MR. DAVIS:    If we could just take down the picture on

        5   the left and leave up the picture on the right --

        6             SPECIAL AGENT TWEHUES:         (Complied.)

        7             MR. DAVIS:    -- which would be 1 E, as in echo.

        8             SPECIAL AGENT TWEHUES:         (Complied.)

        9   BY MR. DAVIS:

       10   Q.   Remind us who this person is.

       11   A.   Juan Carlos Ramirez Abadia, a/k/a Chupeta.

       12   Q.   When did you first meet him?

       13   A.   I met him with Cali because at that time Diego had his labs

       14   and he was processing cocaine for Juan Carlos Ramirez Abadia.

       15   Q.   How much cocaine?

       16   A.   A lot of cocaine.

       17   Q.   Where would you see Diego meeting with Chupeta?

       18   A.   Mostly it was at a building owned by Diego by the name of

       19   Crystal Towers or otherwise at the 115.

       20             MR. DAVIS:    Putting on the screen 4 F, as in foxtrot.

       21             SPECIAL AGENT TWEHUES:         (Complied.)

       22   BY MR. DAVIS:

       23   Q.   Remind us what 4 F is.

       24   A.   That's the 115 parking lot.

       25   Q.   Where was 115 located in relation to the Crystal Towers?



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        1   A.   It was diagonal to it.

        2             MR. DAVIS:    Putting on the screen 4 E, as in echo.

        3             SPECIAL AGENT TWEHUES:         (Complied.)

        4             MR. DAVIS:    Sorry.    Wrong exhibit.         Putting on the

        5   screen 4 D, as in delta.

        6             SPECIAL AGENT TWEHUES:         (Complied.)

        7   BY MR. DAVIS:

        8   Q.   Do you recognize the photographs on the screen?

        9   A.   Yes, sir.

       10   Q.   What's that?

       11   A.   That is the building, Crystal Towers.

       12   Q.   What was Crystal Towers used for?

       13   A.   That was one of Diego's buildings.              It was an apartment

       14   building and at some point in time my aunt, aunt Carola, lived

       15   there along with Eugenio, and Juan Carlos used to live on the

       16   ground floor.

       17             Afterwards it was turned into an operations center for

       18   the organization dealing with drug trafficking.

       19   Q.   What sort of activities would be conducted at the Crystal

       20   Towers?

       21   A.   Meetings, as well as money deliveries made to Diego on

       22   behalf of Chupeta's organization.

       23   Q.   When these money deliveries were made to Diego on behalf of

       24   Chupeta's organization, where were you?

       25   A.   By then, at the Crystal Towers building along with Diego.



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        1   Q.   What were you there to do?

        2   A.   I would help to count the money.

        3   Q.   How much money would Chupeta be delivering to the Crystal

        4   Towers at a single time?

        5   A.   Well, that would depend.        It could be 2, 3, up to $10

        6   million.

        7   Q.   How would this money be counted?

        8   A.   With machines.

        9   Q.   What would the money be used for?

       10   A.   That money was used to bring the cocaine paste, the drugs,

       11   from Peru and Bolivia.

       12              MR. DAVIS:    Could we put on the screen 3 A, as in

       13   alpha?

       14              SPECIAL AGENT TWEHUES:         (Complied.)

       15              MR. DAVIS:    If we could take down the arrows.

       16              SPECIAL AGENT TWEHUES:         (Complied.)

       17   BY MR. DAVIS:

       18   Q.   So, this money was delivered to the Crystal Towers by --

       19   A.   Juan Carlos Ramirez Abadia, Chupeta, so that Diego would

       20   process cocaine for him and also then for Diego to bring the

       21   paste in order to process it into cocaine from Peru and

       22   Bolivia.

       23   Q.   So, Diego would use that money to purchase what?

       24   A.   Cocaine paste in Peru and Bolivia.

       25   Q.   Which would be transported to where?



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        1   A.   Excuse me.   I didn't quite understand that.

        2   Q.   Once the paste was obtained in Peru or Bolivia, where would

        3   it be transported to?

        4   A.   To Colombia, to Diego's labs.

        5   Q.   Once the paste was at Diego's labs, what would be done with

        6   the paste?

        7   A.   It was processed to turn it into cocaine.

        8   Q.   Once the cocaine was processed, where would it go next?

        9   A.   Well, it was delivered to Juan Carlos Ramirez and later it

       10   was shipped to the United States.

       11             MR. DAVIS:    Could we go back to 4 D?

       12             SPECIAL AGENT TWEHUES:         (Complied.)

       13   BY MR. DAVIS:

       14   Q.   To the best of your recollection, would it have been --

       15   well, during what time period would you have been counting all

       16   this cash that was delivered to the Crystal Towers by Chupeta?

       17   A.   From 1992 forward.

       18   Q.   Until when, approximately?

       19   A.   Until '94, '95.

       20   Q.   Would the defendant be helping you count money?

       21   A.   Excuse me?

       22   Q.   Would the defendant be helping you people count this money

       23   delivered by Chupeta?

       24   A.   No, sir.

       25   Q.   Was that part of his job?



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        1   A.   Yes, sir, it was.

        2               THE INTERPRETER:     Oh.

        3   A.   It was separate.    It was a different task.

        4   Q.   So, his job didn't include counting money?

        5   A.   No, sir.

        6   Q.   Was there another time period where you would be present at

        7   the Crystal Towers when you would be receiving large amounts of

        8   money?

        9   A.   Yes, sir.

       10   Q.   What time period was that?

       11   A.   About the same time.

       12   Q.   Who would you be receiving these large amounts of money

       13   from?

       14   A.   In addition to Juan Carlos Ramirez?               Sometimes there would

       15   be individuals whom Diego --

       16               THE INTERPRETER:     Strike that.

       17   A.   Sometimes there would be individuals who had sold drugs for

       18   Diego and they would come by to deliver money, sales made here

       19   in the United States.

       20   Q.   Do you remember the names of any of these individuals?

       21   A.   Yes, sir.

       22   Q.   Who?

       23   A.   Gogo.

       24               MR. DAVIS:   Putting back up on the screen 1 L.

       25               SPECIAL AGENT TWEHUES:         (Complied.)



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        1   BY MR. DAVIS:

        2   Q.   Now, what was Gogo's connection to Diego's operation at

        3   this time?

        4   A.   He was the individual responsible for distributing Diego's

        5   drugs here in the United States.

        6   Q.   At some point before the break, you were saying something

        7   about delivering numbers.

        8   A.   Yes, sir.

        9   Q.   Was that associated in some way with what Gogo was doing

       10   for Diego?

       11   A.   Yes, sir.

       12   Q.   Could you explain to the jury how that would work?

       13   A.   When the drugs, that is, the cocaine was in the United

       14   States, Eugenio or Diego would tell Gogo to find the people

       15   here inside the United States who could sell those drugs here

       16   in the United States and that whenever he had those people, to

       17   ask for the numbers.

       18             When I say "numbers," for example, it could be

       19   telephone numbers of the individuals who are going to receive

       20   the drugs here in the U.S. in order to deliver the drugs to

       21   those people and they, in turn, would sell the drugs.

       22   Q.   So, that's what you would mean when you talk about numbers?

       23   A.   That was the code that we used in order to be able to

       24   differentiate among the things that were needed.

       25   Q.   Were you ever asked to help collect numbers?



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        1   A.   Yes, on one occasion.

        2   Q.   What were you asked to do?

        3   A.   When I had the opportunity to have a customer, in order to

        4   provide him with 100 kilos of cocaine in New York.

        5              MR. DAVIS:    Putting up on the screen 9 H.

        6              SPECIAL AGENT TWEHUES:         (Complied.)

        7   BY MR. DAVIS:

        8   Q.   Do you recognize either of those pictures, the one on the

        9   top or the one on the bottom?

       10   A.   Excuse me?

       11              MR. DAVIS:    Put up the one on the bottom, please.

       12              SPECIAL AGENT TWEHUES:         (Complied.)

       13   A.   Yes, sir.

       14   Q.   What do you recognize on that picture?

       15   A.   The building on the right was another one of Diego

       16   Montoya's organization's center or offices to hold meetings,

       17   meetings dealing with drug trafficking.

       18   Q.   Did the organization have a name for this building?

       19   A.   Yes, sir.    I don't remember whether it was Carrula or

       20   something like that.      I just don't remember exactly.

       21   Q.   Do you remember the name Kokorico?

       22   A.   Yes, sir.

       23   Q.   Was that Kokorico?

       24   A.   Yes, sir, that is Kokorico.

       25   Q.   Was Kokorico ever used to hand out numbers?



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        1   A.   Yes, sir, for that as well.

        2   Q.   Who would be present when numbers would be handed out at

        3   the Kokorico?

        4   A.   Diego, Eugenio, Gogo.      I was.

        5               MR. DAVIS:   Putting up on the screen now 1 J, as in

        6   John.

        7               SPECIAL AGENT TWEHUES:        (Complied.)

        8   A.   Leyner Valencia Pirana.

        9   Q.   1 K?

       10   A.   Leyner Valencia Pirana.

       11   Q.   During the 1990s when you were working with your cousins,

       12   did there ever come a time when Leyner Valencia Pirana would

       13   deliver large amounts of money to you in Cali?

       14   A.   Yes, sir.

       15   Q.   What time period?

       16   A.   From '95 on.

       17   Q.   Why was it that Leyner Valencia was delivering large

       18   amounts of money to you in Cali?

       19   A.   Because -- well, the money was first delivered in Mexico

       20   where then that money would be placed or brought down to Cali,

       21   Colombia and then he would deliver it at the Crystal Towers

       22   building.

       23   Q.   How much?

       24   A.   2, 3, $4 million.

       25   Q.   Where had this money been earned?



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        1   A.   It was the proceeds of drug trafficking in Mexico.

        2   Q.   Once these drugs were sold in Mexico, where were they

        3   going?

        4   A.   To the United States.

        5   Q.   What was the form of payment that Pirana was bringing back

        6   to you in Cali?

        7   A.   That money was delivered to him in Mexico and that same

        8   money would arrive in Cali, Colombia.

        9   Q.   What type of money?

       10   A.   U.S. dollars.

       11   Q.   Not Mexican pesos?

       12   A.   No, sir.

       13   Q.   When you were working for Eugenio as his secretary and

       14   bodyguard, did you come to know people who were close to him at

       15   the time?

       16   A.   In general or --

       17   Q.   Particular people.

       18   A.   I met some of Chupeta's people such as Sergio, Pachuga --

       19   Q.   I'm sorry I didn't ask the question clearly.         Did you come

       20   to know other of Eugenio's workers?

       21   A.   Yes, sir.

       22   Q.   Putting up on the screen 1 M, as in Michael.

       23             SPECIAL AGENT TWEHUES:         (Complied.)

       24   BY MR. DAVIS:

       25   Q.   Do you recognize that person?



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        1   A.   Marbel.

        2   Q.   Who was Marbel?

        3   A.   He was the individual responsible for stashing the money

        4   that represented the proceeds of drug trafficking.

        5              MR. DAVIS:    Putting up on the screen 2 C, as in

        6   Charlie.

        7              SPECIAL AGENT TWEHUES:         (Complied.)

        8   BY MR. DAVIS:

        9   Q.   Who is that?

       10   A.   Pablo Maraca.

       11   Q.   What was Pablo Maraca's association with the Montoyas?

       12   A.   He was also a secretary and bodyguard to Eugenio Montoya.

       13              MR. DAVIS:    Putting on the screen 1 D, as in delta.

       14              SPECIAL AGENT TWEHUES:         (Complied.)

       15   BY MR. DAVIS:

       16   Q.   What was Eugenio Montoya's primary responsibility in the

       17   Montoya Organization?

       18   A.   Eugenio Montoya was the individual responsible of

       19   everything that had to do with accounting within the Diego

       20   Montoya Organization.

       21   Q.   Including money?

       22   A.   Yes, of course.     Yes, he kept the books, the accounting.

       23              MR. DAVIS:    Putting on the screen 1 C, as in Charlie.

       24              SPECIAL AGENT TWEHUES:         (Complied.)

       25   BY MR. DAVIS:



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        1   Q.   During the time that you worked with your cousins -- by the

        2   way, remind us who this is.

        3   A.   Juan Carlos Montoya, my cousin.

        4   Q.   What was Juan Carlos Montoya's primary responsibility in

        5   your cousins' organization?

        6   A.   The cocaine labs belonging to the organization.

        7   Q.   Once the organization stopped running cocaine laboratories,

        8   what became Juan Carlos' primary responsibility?

        9   A.   After that, Juan Carlos lived in Mexico and then he became

       10   responsible for entering into discussions with individuals from

       11   the Mexican cartels who would be receiving the shipments from

       12   Diego Montoya that had been shipped from Colombia.

       13   Q.   Who was the head of the organization?

       14   A.   Diego Montoya.

       15   Q.   What was the defendant's role in Diego Montoya's

       16   organization?

       17   A.   He was one of the men who led teams of hit men in the Diego

       18   Montoya Organization.

       19   Q.   I want to go back to a few more photographs of other

       20   places.

       21             MR. DAVIS:    Could we put up 4 A, as in alpha.

       22             SPECIAL AGENT TWEHUES:         (Complied.)

       23   BY MR. DAVIS:

       24   Q.   Do you recognize this place?

       25   A.   Yes, sir.



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        1               MR. DAVIS:   Could we focus on the top photograph

        2   please?

        3               SPECIAL AGENT TWEHUES:        (Complied)

        4   BY MR. DAVIS:

        5   Q.   What's this location?

        6   A.   This is a house located in Ciudad Jardin, and we used to

        7   have a code for it and we would call it the yellow house.

        8   Q.   What would happen at the yellow house?

        9   A.   That was also a drug trafficking operation center.

       10   Q.   Do you have a number of drug trafficking operational

       11   centers for the drug trafficking organization in Cali?

       12   A.   Yes, sir.

       13   Q.   Why was it necessary for Diego's organization to have so

       14   many different operation centers?

       15   A.   In order to evade the Colombian police.

       16               MR. DAVIS:   Putting up on the screen 4 E, as in echo.

       17               SPECIAL AGENT TWEHUES:        (Complied.)

       18               MR. DAVIS:   Can we focus on the top picture?

       19               SPECIAL AGENT TWEHUES:        (Complied.)

       20   BY MR. DAVIS:

       21   Q.   Do you recognize this location?

       22   A.   Yes.

       23   Q.   What is this?

       24   A.   That is the entry gate into Maracana.

       25   Q.   What was located behind the entry gate?



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        1   A.   To the left there was an office and to the right there were

        2   bathrooms, bathrooms and showers, and then in the middle there

        3   was the soccer field.

        4   Q.   Are you familiar with a soccer field in Brazil known as

        5   Maracana?

        6   A.   Yes, sir.

        7   Q.   It's a pretty grand stadium?

        8   A.   Yes, sir.

        9   Q.   Why did your organization -- why did Diego's organization

       10   refer to this location as Maracana?

       11   A.   Because it was a football field, so it was kind of a code.

       12             MR. DAVIS:    Would you put on the screen 9 A, as in

       13   alpha.

       14             SPECIAL AGENT TWEHUES:         (Complied.)

       15   BY MR. DAVIS:

       16   Q.   Do you recognize this building?

       17   A.   Yes, sir.

       18   Q.   What's this building?

       19   A.   This building is called Holguines Trade Center.         It is an

       20   office building.

       21   Q.   How is it that you know -- how is it that you're familiar

       22   with this organization, the Holquines Trade Center?

       23   A.   It is a shopping center.

       24   Q.   What would happen here?

       25             THE INTERPRETER:     Strike that.



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        1   A.   It is a commercial building.

        2   Q.   Would Diego or any of his people have meetings in this

        3   location?

        4   A.   Yes.

        5   Q.   How would that happen?

        6   A.   Mostly Eugenio had offices there to handle accounting

        7   matters with the organization's accountants.

        8               MR. DAVIS:   Could we put up on the screen 9 B, as in

        9   bravo?

       10               SPECIAL AGENT TWEHUES:       (Complied.)

       11   BY MR. DAVIS:

       12   Q.   What's this location?

       13   A.   It's a farm located in Rozo.

       14               MR. DAVIS:   Could we go to 9 C?

       15               SPECIAL AGENT TWEHUES:       (Complied.)

       16   BY MR. DAVIS:

       17   Q.   What is this?

       18   A.   That is the house located within the farm.

       19   Q.   Which farm?

       20   A.   Rozo.

       21   Q.   What was the finca in Rozo used for?

       22   A.   That was the finca where Diego spent most of his time while

       23   he was recovering from the car accident and it was also an

       24   operations center when Diego was working through the Cali

       25   airport where he would send his airplanes down to Peru to bring



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        1   up the paste.

        2   Q.   How closely located was the finca Rozo to the airport in

        3   Cali?

        4   A.   20 minutes, a half-hour away.

        5              MR. DAVIS:    Putting on the screen 9 D, as in delta.

        6              SPECIAL AGENT TWEHUES:         (Complied.)

        7   A.   Yes, sir.

        8   Q.   Do you recognize this location?

        9   A.   Yes, sir.

       10   Q.   What is this?

       11   A.   It's an office building.

       12   Q.   Whose office building?

       13   A.   Diego Montoya's.

       14   Q.   At some point in time?

       15   A.   Yes, sir.

       16   Q.   How was it Diego Montoya acquired this office building?

       17   A.   It was in payment for a debt because a load of cocaine was

       18   lost within the United States or seized within the United

       19   States.

       20              MR. DAVIS:    Putting up on the screen 9 E, as in echo.

       21              SPECIAL AGENT TWEHUES:         (Complied.)

       22   BY MR. DAVIS:

       23   Q.   Do you recognize this building?

       24   A.   Yes, sir.

       25              MR. DAVIS:    Could we focus on the building on the



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        1   bottom of the screen.

        2             SPECIAL AGENT TWEHUES:         (Complied.)

        3   BY MR. DAVIS:

        4   Q.   Is that the same building?

        5   A.   Yes, sir.

        6   Q.   What's the significance of this building?

        7   A.   My aunt Carola lived there in the penthouse.

        8             MR. DAVIS:    How about 9 F, as in foxtrot?

        9             SPECIAL AGENT TWEHUES:         (Complied.)

       10   BY MR. DAVIS:

       11   Q.   Do you recognize this building?

       12   A.   Yes, sir, the same one.

       13             MR. DAVIS:    Now 9 G, as in Gordon.

       14             SPECIAL AGENT TWEHUES:         (Complied.)

       15   BY MR. DAVIS:

       16   Q.   Do you recognize this building?

       17   A.   Yes, sir.

       18   Q.   What is this building?

       19   A.   Juan Carlos had an apartment there.

       20             MR. DAVIS:    Putting on the screen 1 O, as in Oscar.

       21             SPECIAL AGENT TWEHUES:         (Complied.)

       22   BY MR. DAVIS:

       23   Q.   Remind us who this person is.

       24   A.   Carlos Robayo Guacamayo.

       25   Q.   Approximately when was it that you first met Carlos Robayo,



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        1   Guacamayo?

        2   A.   That was around 1995.

        3   Q.   When you first met Carlos Robayo, what was his job?

        4   A.   He was a hit man that was part of the organization led by

        5   Don Omar Capachivo.

        6   Q.   So, who was Guacamayo's boss at the time?

        7   A.   Capachivo.

        8   Q.   At the time, who was Capachivo working for?

        9   A.   For Diego Montoya.

       10   Q.   When you first met Guacamayo, was he a leader or was he

       11   just a worker?

       12   A.   He was a worker for Capachivo.

       13   Q.   Did that change?

       14   A.   Yes, sir.

       15   Q.   In what sense?

       16   A.   In the sense that he also began to lead a group of hit men

       17   under the orders of Omar Capachivo.

       18   Q.   Would it be fair to say that eventually Guacamayo became a

       19   lieutenant?

       20   A.   Yes, sir.

       21   Q.   Then who did he report to as a lieutenant?

       22   A.   To Capachivo.

       23   Q.   When you first started seeing Guacamayo, where would you

       24   see him?

       25   A.   At different places, fincas such as the Milan estate.



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        1   Whenever Diego summoned Capachivo, Capachivo would come along

        2   with Guacamayo.

        3   Q.   Whenever you -- saw during the early days when you saw

        4   Guacamayo at these different fincas, where would Capachivo be?

        5   Where would Capachivo be when you would see Guacamayo at these

        6   different fincas?

        7   A.   I'm sorry.   I didn't understand your question.

        8   Q.   When you would see Guacamayo at these different fincas, who

        9   would be with him?

       10   A.   Capachivo.

       11   Q.   How close were Guacamayo and Capachivo?

       12   A.   Quite close.

       13   Q.   You were saying that Diego had different fincas?

       14   A.   Yes, sir.

       15   Q.   Where were these fincas located?

       16   A.   In Valle del Cauca.

       17   Q.   Why did he have different fincas?

       18   A.   Because of the amount of money that he had.

       19             MR. DAVIS:    Putting now on the screen 29 A.

       20             SPECIAL AGENT TWEHUES:         (Complied.)

       21   BY MR. DAVIS:

       22   Q.   Do you recognize the person in 29 A?

       23   A.   Yes, sir.

       24   Q.   Who is that?

       25   A.   Jhon Jairo Londono Giyo.



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        1              MR. DAVIS:    Could we put on to the screen 29 A -- 29

        2   B, as in bravo?

        3              SPECIAL AGENT TWEHUES:         (Complied.)

        4   BY MR. DAVIS:

        5   Q.   Do you recognize the person in 29 B?

        6   A.   Yes, sir.

        7   Q.   Who is that?

        8   A.   That is Jhon Jairo's brother, Jaime Londono Giyo.

        9   Q.   Were Jhon Jairo and Jaime associated with the Montoyas in

       10   some way?

       11   A.   Yes, sir.

       12   Q.   How were they associated with the Montoyas?

       13   A.   It was through me.

       14   Q.   And what would they do for the Montoyas?

       15   A.   They had another team or another group of hit men.

       16              MR. DAVIS:    Putting on the screen 2 A.

       17              SPECIAL AGENT TWEHUES:         (Complied.)

       18   BY MR. DAVIS:

       19   Q.   Who is on the left side?

       20   A.   I just see one picture.

       21   Q.   Sorry.   Who is now on the screen?

       22   A.   Jerson Camacho, a/k/a Jerson.

       23   Q.   Was he also known as Flaco Jerson?

       24   A.   Yes, sir.

       25   Q.   Was he associated with the Montoyas?



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        1   A.   Yes, sir.

        2   Q.   In what way?

        3   A.   He was a hit man for the organization.

        4   Q.   When did you first meet Jerson?

        5   A.   That was around 1995 or '96.

        6             MR. DAVIS:    Your Honor, it's about 12:35.       Do you want

        7   to take our lunchbreak?

        8             THE COURT:    Very well.

        9             Ladies and gentlemen, we'll take our break for lunch.

       10   I ask everyone return by 1:45.         Please don't discuss the case.

       11        [The jury leaves the courtroom at 12:36 a.m.].

       12             THE COURT:    We're in recess.

       13        [Luncheon recess at 12:36 a.m.].

       14             MR. DAVIS:    If the Court could, once again, advise the

       15   jury that the reason why the lawyers are avoiding them is that

       16   we're instructed to do so.       We've had a couple of those

       17   uncomfortable encounters with the jurors scurrying.

       18             I've been advised Mr. Toro Sanchez' back is

       19   threatening up and I would like to instruct him if he needs to

       20   stand up and stretch, it's okay.

       21             THE COURT:    Very well.

       22             THE INTERPRETER:     (Complied.)

       23             THE COURT:    All right.       Let's bring the jury in.

       24        [The jury returns to the courtroom at 1:53 a.m.]

       25             THE COURT:    Please be seated.



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        1              Ladies and gentlemen, I neglected to remind you over

        2   the last couple of days of what I mentioned early in the trial.

        3   The lawyers cannot have contact with you.                 So, if you happen to

        4   see them during these breaks outside in the hallways, in the

        5   elevator, and they don't acknowledge you, don't think they're

        6   being anti-social or lack social skills.                 I'm sure Mr. Davis

        7   and Mr. Diaz are not socially inept.               They are following Court

        8   orders and avoiding contact with you.                  Please don't feel

        9   offended.

       10              Our witness, I've advised him that he may stand up and

       11   move around within the witness area if he feels uncomfortable.

       12   He has some back issues.       From time to time he may do that as

       13   well.

       14              All right.   Let's proceed.

       15              MR. DAVIS:   May I proceed, Your Honor?

       16              THE COURT:   Yes.

       17              MR. DAVIS:   Are we all set to go?

       18              THE INTERPRETER:      Your Honor, from the interpreter:

       19   The witness did ask whether he can continue to answer the

       20   questions standing up.

       21              THE COURT:   Sure.      Just take the microphone with you

       22   or hold on to the microphone.

       23              MR. DAVIS:   Could we put back on the screen 1 F, as in

       24   foxtrot?

       25              SPECIAL AGENT TWEHUES:          (Complied.)



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        1   A.   Yes.

        2   Q.   Remind us who this is.

        3   A.   Ivan Urdinola.

        4   Q.   Do you remember the names of any of his cousins?

        5   A.   Hilvert Urdinola and Jorge Ivan Urdinola.

        6   Q.   Ivan Urdinola, what was his mother's name?

        7   A.   I don't know.

        8   Q.   Was his mother's last name Grajales, if you know?

        9   A.   Yes, sir.

       10   Q.   Were you familiar with any Urdinola relatives with the last

       11   name Grajales?

       12   A.   Yes, sir.

       13   Q.   Who?

       14   A.   Luis Grajales.

       15   Q.   Did he have a nickname?

       16   A.   Lucho Grajales.

       17   Q.   How was Lucho Grajales related to Ivan Urdinola Grajales?

       18   A.   Cousins.

       19   Q.   Did there come a time when you were working with your

       20   cousins that your cousin, Diego, ordered a murder on Lucho

       21   Grajales?

       22   A.   Yes, sir.

       23   Q.   What was the reason that prompted Diego to order the murder

       24   of Ivan's cousin, Lucho Grajales?

       25   A.   The information that we had was that Lucho Grajales was



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        1   passing on information to the police on Diego.

        2   Q.   Do you remember approximately when this was?

        3   A.   Excuse me?

        4   Q.   Do you remember when this, approximately, was?

        5   A.   Between '99 and 2000.

        6   Q.   At that time, what was Diego's legal situation in the

        7   United States, if you know?

        8   A.   He was under investigation.

        9   Q.   Were you aware of that?

       10   A.   Yes, sir.

       11   Q.   What about others in the organization?

       12   A.   No, sir, only --

       13              THE INTERPRETER:     Forgive me.

       14   A.   Is your question whether some other individual was also

       15   under investigation by the Government?

       16   Q.   No.   I'm sorry.   Let me rephrase the question.

       17              You were saying you were aware at that time that Diego

       18   was under investigation in the United States.

       19   A.   Yes, sir.

       20   Q.   Were other people in the organization aware that Diego was

       21   under investigation?

       22   A.   Juan Carlos and Eugenio Montoya.

       23   Q.   Were you present when Diego gave the order to have Lucho

       24   Grajales murdered?

       25   A.   Yes, sir.



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        1   Q.   Where did this meeting take place?

        2   A.   At Maracana.

        3              MR. DAVIS:    Putting on the screen 4 E, as in echo.

        4              SPECIAL AGENT TWEHUES:         (Complied.)

        5   BY MR. DAVIS:

        6   Q.   What is this?

        7   A.   Yes, sir.

        8   Q.   What is it?

        9   A.   This is the gate into the Maracana soccer field.

       10   Q.   Who was present when Diego gave the order to have Lucho

       11   Grajales murdered?

       12   A.   The people who were present were Juan Carlos Montoya,

       13   Eugenio Montoya, Diego Montoya, Omar Garcia Capachivo,

       14   Guacamayo and myself.

       15   Q.   What were the orders that Diego gave?

       16   A.   Diego gave Capachivo orders to murder Lucho Grajales and

       17   his children.

       18   Q.   Why would Guacamayo have been there when Diego gave these

       19   orders to Capachivo?

       20   A.   Because he was -- he hung around and he was with Capachivo

       21   and, in fact, Guacamayo was friends with one of Lucho

       22   Grajales's sons.

       23   Q.   When you said "Guacamayo hung around with Capachivo," did

       24   he do more than just hang around with Capachivo?

       25   A.   Yes, of course.     He actually worked as a hit man.



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        1   Q.   Who did he report to?

        2   A.   Capachivo.

        3   Q.   When the order was given to murder Lucho Grajales and

        4   Lucho's children, what was Capachivo's response?

        5   A.   None, that he was going to do it.

        6   Q.   What reason did Diego give at the time for wanting Lucho

        7   and Lucho's children murdered?

        8   A.   Because he was providing information on Diego to the police

        9   authorities.

       10   Q.   What time of year was it that this order was given out?

       11   A.   Between '99 and 2,000.

       12   Q.   What time of the year?      What month?

       13   A.   Oh, oh.   That was in December, actually before December, of

       14   '99 going into 2000.

       15   Q.   So, it was towards the end of the year?

       16   A.   Yes, sir.

       17   Q.   Was Lucho killed?

       18   A.   No, he was not.

       19   Q.   What about his children?

       20   A.   No, they were not murdered either.

       21   Q.   Was there a plan made to murder them?

       22   A.   Yes, sir.

       23   Q.   It just didn't work?

       24   A.   It didn't work.

       25   Q.   From whom did you learn about what had happened?



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        1   A.   Because I was present at Maracana when Chiva was given his

        2   orders.

        3   Q.   Who is Chiva?

        4   A.   Capachivo.

        5   Q.   You were telling us a few moments ago that the plan didn't

        6   work.   Correct?

        7   A.   Yes, sir.

        8   Q.   Who explained to you what had happened?

        9   A.   Why the plan didn't work?

       10   Q.   Yes.

       11   A.   Okay.   Diego explained to us that Don Ivan Urdinola had

       12   called him to complain to him and ask him why was he going to

       13   have his cousin killed.

       14   Q.   Did you ever have a discussion with the defendant about

       15   what had happened, why the plan didn't work?

       16   A.   Not with him.    Rather, Diego explained to us that Capachivo

       17   had told him that on the day that he was going to go murder

       18   Lucho Grajales, that he had run into one of Urdinola workers at

       19   the location where he was going to kill Lucho Grajales, and

       20   that workers name was Rebusque, and Rebusque asked him what was

       21   he doing at that location and Capachivo had actually told him

       22   that he was there to murder Lucho Grajales.

       23   Q.   What was explained to you about Rebusque's response when he

       24   heard about this?

       25   A.   Rebusque asked him to please not kill Lucho that night



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       1   because, otherwise, Ivan Urdinola was going to see then that

       2   Rebusque was the one who had given the information to Capachivo

       3   as to where Lucho was going to be that night.

       4   Q.   So, Rebusque's reasoning was he didn't want to be

       5   identified as what?

       6   A.   That he had, basically, handed over Lucho Grajales.

       7   Q.   Did Diego explain to you what Capachivo had done in

       8   response to this request?

       9   A.   Of course.   That was what Diego told us that Capachivo had

      10   reported to him.

      11   Q.   Did Capachivo report additional facts to him?

      12   A.   That night Rebusque was able to convince Capachivo and

      13   Capachivo agreed, but then next day Rebusque went and reported

      14   to Don Ivan Urdinola as to what Capachivo was going to do

      15   following Diego Montoya's orders.

      16   Q.   So, when Diego heard from Don Ivan Urdinola, what happened?

      17   A.   Ivan Urdinola called Diego to complain to him.

      18   Q.   Continue, please.

      19   A.   And that caused a certain falling out between Diego and

      20   Ivan Urdinola.    They kind of drifted apart for a few days.

      21   Q.   By the way, when Ivan Urdinola called Diego to complain

      22   about the fact that Diego had ordered the murder of his cousin,

      23   where was Ivan at the time?

      24   A.   He was in jail.

      25   Q.   If Ivan Urdinola was in jail, how was it that he was



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       1   allowed to contact Diego Montoya to talk about this?

       2   A.   Well, when he was in jail, Don Ivan had various means of

       3   communicating.     He had telephones.         He had cell phones.

       4   Q.   While he was in jail in Colombia?

       5   A.   Yes, sir.

       6   Q.   So, was he able, essentially, to get news from the outside

       7   of what was going on?

       8   A.   Yes, sir.

       9   Q.   He was able to freely call Diego from in jail?

      10   A.   Yes, sir.

      11   Q.   Were you present during any meetings between Diego and

      12   Capachivo in which this matter was discussed?

      13   A.   No, sir.

      14   Q.   So, you just learned about this from Diego?

      15   A.   Through Diego.

      16               THE COURT:   Sounds like we're in a dentist's office.

      17               MR. DAVIS:   Hopefully this examination doesn't make

      18   everybody feel like they're in a dentist's office.

      19               On that note, let me continue.

      20   BY MR. DAVIS:

      21   Q.   When you heard about this incident and how it didn't work

      22   from Diego, what was Diego's reaction?

      23   A.   Right there and then Diego broke off his relationship with

      24   Capachivo and he became very angry over that.

      25   Q.   Why?



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       1   A.   Because it didn't work, and on top of that there was that

       2   problem now between Diego and Don Ivan Urdinola.

       3   Q.   Who did Diego blame for this problem with Don Ivan

       4   Urdinola?

       5   A.   Capachivo.

       6   Q.   Was Diego angry at Capachivo for a while?

       7   A.   Yes, sir.

       8   Q.   And did they eventually patch up their relationship?

       9   A.   Yes, sir.

      10   Q.   During the time that Diego was angry with Capachivo, who

      11   was Capachivo's primary contact in the organization?

      12   A.   I was.

      13   Q.   Why did you take it upon yourself to be Capachivo's primary

      14   contact in the organization?

      15   A.   Because on one occasion -- on any given day, I was called

      16   out to the farm where Don Diego Garcia in Jamundi -- they were

      17   actually kind of unhappy because Diego just wasn't responding

      18   to their calls.

      19   Q.   Who is "they"?

      20   A.   Capachivo, Mamoncillo, Guacamayo, Sony.

      21   Q.   Who is Sony?

      22   A.   Sony was another one of Capachivo's lieutenants.

      23   Q.   Continue, please.

      24   A.   So, then, we had that meeting.           There really wasn't any

      25   problem with the fact that Diego just wasn't willing to talk to



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       1   them or respond to them, but was having the same problem with

       2   him because I also had had somewhat of a falling out with Diego

       3   at that time and that I was going to help them out so they

       4   would not feel as if they had been abandoned by the

       5   organization.

       6   Q.   How did you help them out?

       7   A.   I told them that I was at the time working on an errand or

       8   a job that I was planning along with an individual by the name

       9   of -- with a woman named Sara Campuzano, and that was

      10   something -- that was like a route between Buenaventura

      11   directly to the United States --

      12   Q.   Was that --

      13   A.   -- in Miami.

      14   Q.   Was that one of the routes that you were talking about

      15   earlier today during your testimony this morning?

      16   A.   Yes, sir.

      17   Q.   This is the route that went from Colombia to Miami through

      18   what method?

      19   A.   That would be containers aboard freight ships.

      20   Q.   So, what did you offer to do for them?

      21   A.   That we should try out this route, that we should run an

      22   experiment on this route and that they should invest some on

      23   this load and that would be a way for me to help them out.

      24   Q.   You were saying that you had this meeting at Diego Garcia's

      25   farm.   When you went to Diego Garcia's farm, how would you get



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       1   there?

       2   A.   By car.

       3   Q.   Where is Diego Garcia's farm located?

       4   A.   On the outside of Jamundi when you're leading down to

       5   Popayán.

       6               MR. DAVIS:   Can we put up on the screen 3, C as in

       7   Charlie, and focus around the area of Jamundi?

       8               SPECIAL AGENT TWEHUES:    (Complied.)

       9   BY MR. DAVIS:

      10   Q.   Do you see the general area where Diego Garcia's farm is

      11   located?

      12   A.   Yes.   Well, this map actually seems to show more the area

      13   of the Villa Rica heading toward the mountain range.          This is

      14   not really where the farm is located.

      15               MR. DAVIS:   Let's try 3 B.       If we could focus in on

      16   the area between Cali going south.

      17               SPECIAL AGENT TWEHUES:    (Complied.)

      18   BY MR. DAVIS:

      19   Q.   Do you see the general area where Diego Garcia's farm would

      20   be located?

      21   A.   Yes, sir.   It's located between Cali and Popayán.

      22   Q.   How frequently would you go out to Diego García's farm?

      23   A.   After I had contact with them, I was at the farm almost on

      24   a daily basis.    My trips down there were very frequent.

      25   Q.   What sort of security measures would you take before you



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       1   went down to see Diego Garcia's farm?

       2   A.   Well, I would go around with my own bodyguards.

       3   Q.   Were there times you would send people in advance?

       4   A.   Yes, sir.

       5   Q.   Who were the people you would send in advance to check out

       6   the route?

       7   A.   That would depend on who was on shift.

       8   Q.   The type of people on shift, were these like your

       9   bodyguards?

      10   A.   Yes, sir.

      11   Q.   Did you ever a bodyguard named Pipa?

      12   A.   He was also my secretary.

      13   Q.   Did there come a day that -- was there a day Pipa was your

      14   advanced person on the way to Diego Garcia's farm?

      15   A.   Yes.

      16   Q.   Did there come a time when Pipa warned you -- where you

      17   received a certain warning from Pipa about a trip you were

      18   planning to take to Diego Garcia's farm?

      19   A.   Yes, sir.

      20   Q.   What was the warning that you received from Pipa?

      21   A.   Not to go there first because there was a problem in the

      22   farm.

      23   Q.   Did he tell you what the problem was in the farm at the

      24   time?

      25   A.   Not at that time, no.      That I should delay my going there



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       1   because there was a problem at the farm.

       2   Q.    Did there come a time that you received another call from

       3   Pipa?

       4   A.    Yes, later on, about an hour later.

       5   Q.    What did Pipa tell you when he called you next about an

       6   hour later?

       7   A.    By then, yes, I could go to the finca.

       8   Q.    When you got to the finca, who did you meet?

       9   A.    Capachivo was there, Guacamayo was there, Mamoncillo was

      10   there and Julio Fabio Urdinola was there as well and they told

      11   me outside when Pipa was about to go in, he saw or encountered

      12   a suspicious individual.

      13             Capachivo gave the order to get that person, bring

      14   that person into the farm and they proceeded then to torture

      15   that person so that he could provide the information of why he

      16   was outside that farm.

      17   Q.    What explanation did that person give for why he was

      18   outside the farm?

      19   A.    He was an informant member of the Colombian Army, of the

      20   B2.

      21   Q.    Was he allowed to live?

      22   A.    No, he did not live.

      23   Q.    Where was the defendant when you received this explanation

      24   of what had happened to this Army informant?

      25   A.    Yes, he was the one who gave me the information.



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       1   Q.   When you were working with the Montoyas, did you, yourself,

       2   order certain murders?

       3   A.   You're asking me during the time I worked with the Montoyas

       4   or when I was on my own?

       5   Q.   During the time period prior to your arrest, were there

       6   occasions where you ordered murders?

       7   A.   Yes, sir.

       8   Q.   You were talking about the time you were on your own.         What

       9   were you referring to when you said the time you were on your

      10   own?

      11   A.   In other words, when I was no longer working in my cousin's

      12   organization, but I had my own organization.

      13   Q.   What did your own organization do?

      14   A.   Cocaine trafficking.

      15   Q.   When you're talking about your own organization, were you

      16   referring to the different routes that you were discussing

      17   earlier in your testimony?

      18   A.   Yes, sir.

      19   Q.   Even though your cousins were investors from time to time,

      20   you considered this your own organization?

      21   A.   Yes, sir.

      22   Q.   Would you from time to time rely on financial help from

      23   your cousins when you were doing your own routes?

      24   A.   No.   Not by that time, no.

      25   Q.   Would you continue to socialize with your cousins during



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       1   that time period?

       2   A.   Yes, sir.

       3   Q.   And did you continue to remain familiar with all the

       4   different people who worked for your cousins?

       5   A.   I didn't understand your question.

       6   Q.   Well, during the period when you were doing your own

       7   routes, would you also socialize with people who worked with

       8   your cousins?

       9   A.   Yes, sir.

      10   Q.   Which people?

      11   A.   Marbel.   He was the one in charge of the stash locations.

      12             THE INTERPRETER:     Excuse me, counsel.

      13   A.   Eugenio, Maraca, Pablo Maraca and the people at Diego's

      14   farms.

      15   Q.   What about the hit men who worked with Diego.        Would you

      16   socialize with them when you were doing your own routes?

      17   A.   Yes, sir.

      18   Q.   During different times prior to your arrest, would you

      19   socialize with the defendant?

      20   A.   Yes, sir.

      21   Q.   How frequently?

      22   A.   Quite often.    Frequently, almost every day.

      23   Q.   Was there a time period when you socialized less with the

      24   defendant?

      25   A.   Until I was arrested, we always were together, quite close,



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       1   that we did things together.

       2   Q.   Was there a time, let's say, like in the mid to late 1990s

       3   when you weren't in contact with the defendant as frequently?

       4   A.   Of course.    I did not see him that often then because that

       5   was after the incident that he had with Diego.

       6   Q.   When you would socialize with the defendant, where would

       7   you socialize with him?

       8   A.   In different places, in different estates or different

       9   fincas.   Sometimes some were my own or sometimes other

      10   people's.

      11   Q.   Would you go to bars?

      12   A.   No, not with Capachivo,

      13   Q.   What about yourself?

      14   A.   Yes, sir.

      15   Q.   You're a little younger than Capachivo.

      16   A.   Yes, sir.

      17   Q.   During the time before your arrest, did you like to go out

      18   drinking?

      19   A.   Yes, sir.

      20   Q.   Was there a time that you used cocaine?

      21   A.   Yes, sir.

      22   Q.   During what time period were you using cocaine?

      23   A.   Well, it was just briefly.       It wasn't anything that I did

      24   constantly.    It was just for a short period.

      25   Q.   What period of time was this?



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       1   A.   Between 2001, 2003.

       2   Q.   During that time period, how frequently were you using

       3   cocaine?

       4   A.   Sporadically, very sporadically.

       5   Q.   How many times a week, if you remember?

       6   A.   Well, there were weeks that I didn't even use any cocaine.

       7   Q.   Were there some weeks where you used cocaine multiple

       8   times?

       9   A.   Yes, sir.

      10   Q.   We were talking about murders that you ordered when you

      11   were doing your own routes.       Do you remember ordering a murder

      12   of somebody named Pablo Diaz?

      13   A.   Yes, sir.

      14   Q.   Prior to the time that you ordered the murder of Pablo

      15   Diaz, what was your association with him?

      16   A.   Well, he was an individual from the Colombian police force

      17   in Cali, at the airport in Cali, with the airlines, American

      18   Airlines and Kalita, at the time that I was sending cocaine

      19   from Colombia to the United States.

      20   Q.   What did Pablo Diaz do that prompted you to order a murder

      21   on him?

      22   A.   And he would help me pay off the police at that airport.

      23   Q.   What did Pablo Diaz do that prompted you to order his

      24   murder?

      25   A.   He was working for an individual that was working for



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       1   Chupeta and his name was Lieutenant Rodriguez and Pablo Diaz

       2   was another individual who was a former police officer and

       3   because he worked with Lieutenant Rodriguez, they had a lot of

       4   contacts at the police level so that he could help me at the

       5   airport in order to ship or send drugs to the United States,

       6   and on one occasion Lieutenant Rodriguez calls me telling me,

       7   "You are using one of my workers for the routes that I had,"

       8   and so he told me, "Look, you have to give me half of the

       9   loads," because I was using his worker, so that he would help

      10   me with the corruption or corrupting the police force or the

      11   police officers at the airport.

      12   Q.   Okay.   So, what you're, basically, giving us is the

      13   background that led to you putting the order out to murder

      14   Pablo Diaz?

      15   A.   Yes, sir.

      16   Q.   So, at this time Lieutenant Rodriguez was trying to get a

      17   lot of money out of you to operate these routes?

      18   A.   No.   In other words, the loads, whatever loads I was going

      19   to send out, to ship out, he wanted to have half of that.

      20   Q.   What was your response?

      21   A.   And I said, "No," that I didn't agree with that, and I

      22   said, "Well, if it's better, I won't use Diaz," so that Diaz

      23   would not do what he was doing, which was interrupting the

      24   police officers at the airport in helping me to send the drugs

      25   over to the states.



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       1   Q.   After you had this conversation with Lieutenant Rodriguez,

       2   what did you tell your partner, Pablo Diaz?

       3   A.   He later called me.    He said, "Don't pay attention to

       4   Lieutenant Rodriguez," that he was going to continue helping me

       5   because I was paying him to do that for the work that he was

       6   doing there.

       7   Q.   So, what was your response?

       8   A.   I said "Yes," and that was it.

       9   Q.   Next time you tried to send a load out at the airport, what

      10   happened?

      11   A.   It's seized because when the cocaine -- when the drugs were

      12   to be given to Pablo Diaz, he was not there on location and the

      13   person who had to receive that, he was the commander at the

      14   Cali airport, and he told Carlos Dulcey and Ñaco that he could

      15   not receive that cocaine because, otherwise, Lieutenant

      16   Rodriguez would kill him.

      17   Q.   What did you conclude that Pablo Diaz had done?

      18   A.   I began to call Pablo Diaz.      He does not answer and the one

      19   who does answer is Lieutenant Rodriguez and he tells me he had

      20   given the order for those drugs not to be received by the

      21   police at the airport.

      22   Q.   What did you conclude that Pablo Diaz had done to you?

      23   A.   Well, that Pablo Diaz had played a dirty trick on me and he

      24   had deceived me or lied to me, betrayed me.

      25   Q.   So, in response, what did you decide to do?



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       1   A.   I spoke to Chupeta.    I explained the situation to him and

       2   he gave me the authorization to execute Pablo Diaz.

       3   Q.   What happened to Pablo Diaz?

       4   A.   He was killed.

       5   Q.   Did you do it yourself?

       6   A.   No, sir, one of my workers.

       7   Q.   Was this a common type of occurrence in the Colombian

       8   narcotics world?

       9   A.   Yes, sir.

      10   Q.   Did you have a run-in with a police officer named Valencia?

      11   A.   Yes, sir.

      12   Q.   And what prompted this run-in?

      13   A.   Because of extortion that he was doing to me for several

      14   days then, for a long time then.

      15   Q.   What prompted him to extort you?

      16   A.   At that time you were able to duplicate or to copy the

      17   numbers, to clone the numbers for the cellular phones, and in

      18   Colombia we called them brujos or witches who do that, whoever

      19   was there with a phone that had been cloned, which is what we

      20   call the brujos.    The police agents would take you to a police

      21   headquarters and there they would have a report made and this

      22   person would know then when that phone had been cloned or

      23   copied or not, and every time he saw me he would stop me.          He

      24   would take my phones, and since I carried those type of phones

      25   which had been cloned, he would extort me.



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       1   Q.   Would he extort anybody else you knew?

       2   A.   Once I was with Diego and the same thing happened to us.

       3   Q.   What about a family member of any friends of yours?

       4   A.   Yes, the wife of a friend of mine, Fabio Ñaco, the brother

       5   of Carlos Dulcey.     He stopped his wife and damaged the tinted

       6   windows in the car and he was going to take her to the police

       7   headquarters because she also was carrying cloned cellular

       8   phones.

       9             That's when I decided to give the order to have

      10   Valencia, police officer Valencia, killed.

      11   Q.   Was he killed?

      12   A.   Yes, sir.

      13   Q.   By you, personally?

      14   A.   No, sir.

      15   Q.   By whom?

      16   A.   The Giyos.

      17   Q.   Was the defendant the person who killed Valencia?

      18   A.   No, sir.

      19   Q.   What about Pablo Diaz?      Was the defendant the person who

      20   killed Pablo Diaz?

      21   A.   No, sir.

      22   Q.   Was this sort of violence you just described prominent in

      23   the Colombian cocaine world at the time you were living in

      24   Colombia?

      25   A.   Yes, sir.



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       1   Q.   How common was it?

       2   A.   Quite common.

       3             MR. DAVIS:    Could we put up on the screen 1 Y, as in

       4   yellow?

       5             SPECIAL AGENT TWEHUES:        (Complied.)

       6   BY MR. DAVIS:

       7   Q.   Do you recognize this person?

       8   A.   Yes, sir.

       9   Q.   Who is this?

      10   A.   Leif Hernandez.

      11   Q.   Who is Leif Hernandez?

      12   A.   He is a private investigator.

      13   Q.   Is it Leif Hernandez or Fernandez?

      14   A.   Leif Hernandez, Hernandez.

      15   Q.   When you were living in Colombia, where would you see him?

      16   A.   Around my family.

      17   Q.   What was he doing meeting with your family?

      18   A.   He was trying to speak with Diego so that Diego would

      19   surrender himself to the U.S. authorities.

      20   Q.   What time period was this?

      21   A.   After 2000.

      22   Q.   Why was there discussion about Diego surrendering himself

      23   to the United States authorities?

      24   A.   I was never present when Leif would say that to Diego, but

      25   whenever Leif would leave, Diego would tell us that Leif would



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       1   come around always to try to convince him to surrender himself

       2   to the authorities in the U.S. so that he could then fix his

       3   problem.

       4   Q.   What sort of problem did Diego have in the United States?

       5   A.   He had an Indictment in the U.S., a drug trafficking charge

       6   in the United States.

       7   Q.   Was this something that was a secret within the

       8   organization?

       9   A.   Well, yes.   Diego did not want too many people to know

      10   about it due to the danger that that might cause him and also

      11   because of his own safety.

      12   Q.   The fact that he was considering surrendering or the fact

      13   that he was under Indictment?

      14   A.   I don't understand.

      15   Q.   Were you the only person in the organization who was aware

      16   that Diego had an Indictment against him in the United States?

      17   A.   Juan Carlos and Eugenio knew it as well.

      18   Q.   Are you aware whether any of the hit men knew?

      19   A.   No, I don't know.

      20              MR. DAVIS:   Putting up on the screen 1 Q.

      21              SPECIAL AGENT TWEHUES:     (Complied.)

      22   BY MR. DAVIS:

      23   Q.   Remind us who this is.

      24   A.   My aunt, Carola.

      25              MR. DAVIS:   Now, putting on the screen 1 R.



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       1               SPECIAL AGENT TWEHUES:    (Complied.)

       2   BY MR. DAVIS:

       3   Q.   Who is this?

       4   A.   Alma Luz Montoya, my cousin.

       5               MR. DAVIS:   Now, putting up on the screen 1 S.

       6               SPECIAL AGENT TWEHUES:    (Complied.)

       7   BY MR. DAVIS:

       8   Q.   Do you recognize this person?

       9   A.   Yes, sir.

      10   Q.   Who is that?

      11   A.   Solangel Perez.     She's Diego's children's mother.

      12   Q.   Was there a time your aunt Carola, your cousin Alma Luz and

      13   the mother of Diego's children, Solangel, were living in the

      14   United States?

      15   A.   Yes.

      16   Q.   When was that?

      17   A.   That was in 1995, after 1995 but I don't recall exactly.

      18   Q.   When Leif was coming down to meet with Diego, where was his

      19   mother, his sister and the mother of his children living?

      20   A.   They were here in the United States.

      21   Q.   Where in the United States?

      22   A.   In Miami.

      23   Q.   How were they being supported, if you know?

      24   A.   The monies sent up by my cousins.

      25   Q.   Were there any of your cousins' workers who were up in



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       1   Miami helping them?

       2   A.   03.

       3   Q.   Who is 03?

       4   A.   03 was an individual who was running a business up here for

       5   my cousins.     It was a tractor-trailer business.

       6   Q.   How was the tractor-trailer business that 03 was running

       7   for your cousins helping support the family members?

       8   A.   Surely through the profits.

       9   Q.   Do you know 03's first name?

      10   A.   No, sir.

      11   Q.   He's known as 03?

      12   A.   03.

      13               MR. DAVIS:   Could we put up on the screen 1 Z, as in

      14   zebra?

      15               SPECIAL AGENT TWEHUES:    (Complied.)

      16   BY MR. DAVIS:

      17   Q.   Do you recognize this person?

      18   A.   Yes.

      19   Q.   Who is that?

      20   A.   Jhon Jairo, Dos Mil.

      21   Q.   How did you meet Dos Mil?

      22   A.   I met him through 03 when he used to sell cellular

      23   telephones.

      24   Q.   When who used to sell cellular telephones?

      25   A.   Dos Mil.



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       1   Q.   How long did you know Dos Mil?

       2   A.   Excuse me?

       3   Q.   For how long did you know Dos Mil?

       4   A.   When I met him?

       5   Q.   No.   Over what period of time did you meet him?

       6   A.   Probably from around 1994.

       7   Q.   After 1994, how frequently would you see him?

       8   A.   Probably at my cousin's office.

       9   Q.   What would Dos Mil be doing in your cousin's office?

      10   A.   He was responsible for communication for my cousins, cell

      11   phones and beepers.

      12   Q.   What was his job?

      13   A.   He used to work for a cell phone company.

      14   Q.   What was Dos Mil supposed to do for your cousins?         What was

      15   he supposed to be supplying them with?

      16   A.   He will get them cell phones that would be under other

      17   people's names.    He would also find out what the ESN numbers of

      18   certain phones were so they could be tapped.        He also cloned

      19   telephones, beepers.     He cloned beepers.

      20   Q.   You were saying how you would spend time socializing with

      21   the defendant.

      22   A.   Yes, sir.

      23   Q.   When you would socialize with the defendant, where would

      24   you go again?

      25   A.   We met at various fincas.     It could be my own or belonging



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       1   to other people.     Every day.

       2   Q.   Would you socialize with Dos Mil the same way that you

       3   would socialize with the defendant?

       4   A.   No, sir.

       5   Q.   Would you socialize with Dos Mil at all?

       6   A.   No.

       7   Q.   When you would see Dos Mil, for what purpose would you be

       8   seeing him?

       9   A.   I would see him at my cousin's office, just dealing with

      10   the cell phones and the beepers.

      11   Q.   Strictly business?

      12   A.   Yes, sir.

      13   Q.   Would Dos Mil come out to parties at Milan?

      14   A.   No, sir.    I never saw him.

      15   Q.   Would he come out to soccer games at Maracana?

      16   A.   No, sir.

      17   Q.   Just business?

      18   A.   Yes, sir.

      19   Q.   Is Dos Mil dead or alive?

      20   A.   He's dead.

      21   Q.   Where was it that you first learned that he was no longer

      22   alive?

      23   A.   I found out the day that he was being murdered.

      24   Q.   Before he was murdered or after?

      25   A.   That was on the day that he was being murdered, the night



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       1   when he was being murdered.

       2   Q.   Did you learn about it before he was being murdered or

       3   after he was murdered?

       4   A.   At that time I ran into Guaca and Mamoncillo and they told

       5   me that they were busy because they were interrogating Dos Mil.

       6   Q.   Where did you run into them?

       7   A.   I ran into them at a farm where there were some horse

       8   stalls or a horse barn.

       9   Q.   Where is Dos Mil being interrogated?

      10   A.   At one of Sony's farms.

      11   Q.   Was Dos Mil being interrogated at the moment you ran into

      12   Guacamayo and Mamoncillo or had Dos Mil already been

      13   interrogated?

      14   A.   They told me that they were interrogating him, yes.

      15   Q.   That's what they told you at the time?

      16   A.   Yes, sir.

      17   Q.   Why were you looking for them?

      18   A.   Because at that time we were working on a shipment with

      19   some friends of theirs.     People call them Los Pastusos.       That

      20   was a shipment where I owned 250 kilos of cocaine.         So, I

      21   called them to get a report from them as to how the shipment

      22   was going.   So, they told me that they couldn't answer the

      23   phone because they were busy during an interrogation with Dos

      24   Mil because Dos Mil had been giving information to the U.S.

      25   government or, perhaps, he was actually working as an



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       1   informant, trying to help capture Don Diego.

       2   Q.   Prior to this conversation with either Guacamayo or

       3   Mamoncillo, had you known that there had been a plan to murder

       4   Dos Mil?

       5   A.   No, sir.

       6   Q.   What was the next time that you talked about this matter

       7   with Guacamayo or Mamoncillo, if you recall?

       8   A.   The next day.

       9   Q.   Why was it that you spoke to them about this?

      10   A.   Because there had been a problem with a telephone that

      11   belonged to Dos Mil.     One of their workers by the name of

      12   Gentil had taken Dos Mil's telephone and had placed telephone

      13   calls to his house which gave rise to the representatives from

      14   the prosecutor's office to go to his house.

      15   Q.   And when the representatives from the prosecutor's office

      16   went to this person's house, what did they learn?

      17   A.   What they said was that there had already been a complaint

      18   filed regarding the disappearance of Dos Mil and that the

      19   telephone was being monitored, and when they looked into the

      20   calls made from that phone, they found out that it had called

      21   that house and it turned out that was Gentil's house and Gentil

      22   was one of the guys who had been present during Dos Mil's

      23   interrogation.

      24   Q.   When you found this out from Guacamayo or Mamoncillo, what

      25   was their demeanor like?



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       1   A.    They were concerned and Capachivo, Omar Garcia, was there

       2   as well.

       3   Q.    What was decided?

       4   A.    People from the CTI, that is the prosecutor's office, were

       5   asking for a bribe to do away, that is, close down the

       6   investigation.

       7   Q.    And, so, what was decided?

       8   A.    I gave out the money so that the investigation would be

       9   shut down and they would divert it.

      10   Q.    Was the investigation shut down?

      11   A.    Yes, sir.

      12   Q.    By the way, you were talking about the different days

      13   between these different meetings.             Were you taking down the

      14   dates or taking down the dates in a notebook as this was going

      15   on?

      16   A.    No, sir.

      17   Q.    So, your recollection about the timing is just based upon

      18   memory?

      19   A.    Yes, sir.

      20   Q.    And, likewise, the words being told to you at the time?

      21   A.    Yes, sir.

      22   Q.    Do you want to stand up for a second?

      23   A.    Please.

      24   Q.    Sure.

      25   A.    (Complied.)



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       1   Q.   Now, you were testifying the first time you learned about

       2   it was the night of the interrogation.

       3   A.   Yes, sir.

       4   Q.   The next time you spoke about this matter was the day

       5   after?

       6   A.   Yes, sir.

       7   Q.   Is that your best recollection?

       8   A.   Yes, sir.

       9   Q.   As you sit here today, can you be certain it was the day

      10   after?   Could it have been a later day?

      11   A.   Okay.   They had this meeting.      It could have been the next

      12   day or the day after.     It could have been one or two days, and

      13   then there was another meeting when Capachivo then explained to

      14   me, in fact, he confirmed to me once again the reason why Dos

      15   Mil had been killed.

      16   Q.   This is a meeting after the meeting when you discussed how

      17   you were going to get rid of the prosecutor's investigation

      18   into the cell phone?

      19   A.   Yes, sir.

      20   Q.   And how was it that this came up, this matter with Dos Mil

      21   came up?

      22   A.   Well, because I asked him what had happened to Dos Mil, and

      23   what Capachivo reported to me was that Eugenio had called them

      24   for them to interrogate Dos Mil because Dos Mil was working as

      25   an informer for the American government and that that's why



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       1   they had interrogated him and tortured him and the order needed

       2   to be that he should be executed.

       3   Q.   Prior to that, you discussed the matter with your cousin,

       4   Diego?

       5   A.   No, sir.

       6   Q.   Did there come a time that you did discuss the Dos Mil

       7   matter with your cousin, Diego?

       8   A.   Yes, sir.

       9   Q.   Where was this discussion?

      10   A.   At Magdalena Medio.

      11   Q.   What was it that you asked Diego?

      12   A.   If it was true that Dos Mil was actually an informant for

      13   the U.S. government.

      14   Q.   What was Diego's response?

      15   A.   He told me, "Yes."

      16   Q.   Did he explain how it was he knew?

      17   A.   He told me that he had received the information, but he did

      18   not tell me from whom.

      19   Q.   Do you remember him telling you that German, the brother of

      20   Solangel, might have given him this information?

      21   A.   No, I don't remember that right now.

      22   Q.   At the time that Dos Mil was murdered, who did Guacamayo

      23   report to?

      24   A.   To Capachivo, who was his boss.

      25   Q.   When was Dos Mil killed, before or after the war?



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       1   A.   Before the war.

       2   Q.   Before the war started, if the Montoyas were asking

       3   Guacamayo to do an important job, who would they consult in

       4   advance?

       5   A.   With Capachivo.

       6   Q.   Was the interrogation and torture of someone something you

       7   would consider important within the organization?

       8   A.   Of course, sir.

       9   Q.   It's a job that your cousins would have consulted the

      10   defendant about before discussing it with Guacamayo?

      11   A.   Yes, sir.

      12              MR. DAVIS:   We're going to move on to another subject.

      13   I don't know if you want to take the break now or I can

      14   continue.

      15              THE COURT:   Does the jury want a break now?       Do I see

      16   a show of hands?    They're very comfortable.      Let's continue.

      17              MR. DAVIS:   Let's plow forward.

      18   BY MR. DAVIS:

      19   Q.   What date were you arrested?

      20   A.   December 29th, 2003.

      21   Q.   Where were you arrested?

      22   A.   At Magdalena Medio Colombia.

      23   Q.   Who was with you when you were arrested?

      24   A.   Juan Carlos Montoya.

      25   Q.   Were there other people with you when you were arrested?



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       1   A.   Yes, sir.

       2   Q.   What agency initially stopped you?

       3   A.   The Colombian police and the gasoline or petroleum police.

       4   Q.   Where were you?

       5   A.   I was on the road.

       6   Q.   At the time you were stopped by the hydrocarbon or the

       7   gasoline police, were you folks asked for identification?

       8   A.   Yes, sir.

       9   Q.   Did your cousin, Juan, provide identification?

      10   A.   He did provide false ID information.

      11   Q.   Did you take any steps to try to correct that, to advise

      12   the police that your cousin, Juan, was providing false

      13   identification

      14   A.   No.

      15   Q.   What about yourself?    Did you provide false identification?

      16   A.   No, sir.

      17   Q.   Why not?

      18   A.   Because in Colombia I was known as Felipe Montoya and not

      19   Carlos Felipe Toro Sanchez.      So, in Colombia people knew me as

      20   Felipe Montoya.    That's why I never had any false papers and I

      21   was -- I always had with me papers that had my real name.

      22   Q.   But the police knew you by what name?

      23   A.   Felipe Montoya.

      24   Q.   What was the reason for that?       Why would they have known

      25   you as Felipe Montoya?



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       1   A.   Because of how close I was with my cousins.

       2   Q.   So, you had no need for false identification?

       3   A.   No, sir.

       4   Q.   Your real identification was as good as false

       5   identification to the police?

       6   A.   Yes, sir.

       7   Q.   After you were stopped by the gasoline police, where were

       8   you taken?

       9   A.   To the police headquarters in Puerto Boyaca.

      10   Q.   And from there, where were you taken?

      11   A.   From there we were taken to Mariquita, in Honda, and that

      12   is at a police station which is the anti-narcotics unit.

      13   Q.   Eventually they learned who you were?

      14   A.   Certainly.   Two days after I was arrested, they found out

      15   or -- excuse me -- the following day in Bogota.

      16   Q.   They figured out that Carlos Felipe Toro Sanchez was the

      17   person they knew as Felipe Montoya?

      18   A.   Yes, sir.

      19   Q.   Once they realized that you were the person they knew to be

      20   Felipe Montoya, where were you taken?

      21   A.   They took me to the holding cells at the DIJIN.

      22   Q.   DIJIN?

      23   A.   Yes, sir.

      24   Q.   What is the DIJIN?

      25   A.   That's a unit within the police that is tasked with looking



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       1   for us, for the drug dealers, the narco-traffickers.

       2   Q.   Was there a time you were brought to jail?

       3   A.   Yes, sir.

       4   Q.   What jail?

       5   A.   To Combita in Boyaca.

       6   Q.   How long were you in Combita?

       7   A.   About two or three months.

       8   Q.   Where did you go next?

       9   A.   They took me to the Picota jail in Bogota.

      10   Q.   La Picota?

      11   A.   Yes, sir, La Picota.

      12   Q.   Which jail is a more comfortable jail, La Picota or

      13   Combita?

      14   A.   La Picota.

      15   Q.   How was it that you were able to get transferred to La

      16   Picota?

      17   A.   There was an individual that was working with us whose name

      18   is Gustavo and he was able to get the connection with the

      19   Bureau of Prisons in Colombia called the INPEC, exactly the

      20   Bureau of Prisons in Colombia, and he was able to get the

      21   contact that through payment of some money would then have me

      22   transferred from Combita to La Picota.

      23   Q.   Once you got to Picota, did you want to stay there?

      24   A.   Yes, sir.

      25   Q.   Did you want to stay in jail or try to get out?



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       1   A.   There was a plan B, which was to escape.

       2   Q.   Let's talk about the plan B, to escape.       Who was the person

       3   who helped you start that plan to escape?

       4   A.   There was a sub-director of the jail.       I don't recall his

       5   name, the deputy director, and he communicated with our worker,

       6   Gustavo, and he said, "Look, let's propose to him that he could

       7   help me escape from that jail."

       8   Q.   Who told you about this?

       9   A.   Gustavo told me.

      10   Q.   When Gustavo told you about the possibility that the

      11   assistant director could help you escape, what was your

      12   reaction?

      13   A.   That I agreed.

      14   Q.   What discussions did you have with the assistant director

      15   about this plan?

      16   A.   So, when he found out that I agreed, he came to where I

      17   was, to the unit I was in, and I proposed that he would get me

      18   out of the jail, so that a group of ours would rescue me and so

      19   that would be the way for me to escape.

      20   Q.   What was your response when you heard of this plan?

      21   A.   I said that, "Yes," I agreed, but that I also wanted or

      22   needed Juan Carlos, my cousin, so that the two of us together

      23   could escape.

      24   Q.   What was the assistant director's response?

      25   A.   That there was no problem, that he had a way to bring Juan



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       1   Carlos from Combita to La Picota, and that's exactly how it

       2   went.   They transferred Juan Carlos from Combita in Boyaca to

       3   La Picota in Bogota.

       4             MR. DAVIS:    Putting up on the screen in evidence 2 E,

       5   as in echo.

       6             SPECIAL AGENT TWEHUES:      (Complied.)

       7   BY MR. DAVIS:

       8   Q.   Who is that?

       9   A.   Gildardo Rodriguez.

      10   Q.   Were you aware of any nickname he had?

      11   A.   La Camisa Roja, the red shirt.

      12   Q.   Did La Camisa Roja have any plan to break you and Juan

      13   Carlos out of jail?

      14   A.   Yes, sir.

      15   Q.   What was his role?

      16   A.   He was going to set up that group that was going to rescue

      17   us or take us from the police who were the police with the

      18   Bureau of Prisons and so they could take us to a safe place.

      19   Q.   Now, the police that were going to take you to the

      20   hospital, were they supposed to be in on this plan?

      21   A.   Yes, sir.   That is what the assistant director of the jail

      22   or assistant warden of the jail had told us, that they were not

      23   going to offer any resistance.

      24   Q.   Did you discuss this with Camisa?

      25   A.   Yes, sir.   He went to visit us at the jail.



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       1   Q.   Camisa was able to get in to visit you at the jail?

       2   A.   Yes, sir.

       3   Q.   What happened to the plan?

       4   A.   It fell through.     It didn't go through.

       5   Q.   Was the assistant director paid?

       6   A.   Yes, we paid him $1 million.

       7   Q.   After you paid him, what happened?

       8   A.   He never came around again, didn't show up at the jail or

       9   anything.     He just disappeared.

      10   Q.   Do you have a cousin named Pedro Navarette?

      11   A.   Cousin?   No.

      12   Q.   Sorry.    Did you know somebody named Pedro Navarette?

      13   A.   Yes, sir.

      14   Q.   How did you know him?

      15   A.   Because he's married to a sister of --

      16   Q.   Okay.    He's an in-law?

      17   A.   Yes, sir.

      18   Q.   Before you were arrested, was he arrested?

      19   A.   Yes, sir.

      20   Q.   When was that?

      21   A.   That was in 2002.

      22   Q.   When he was arrested, where was he housed?

      23   A.   To Combita in Boyaca.

      24   Q.   Did you ever engage in any plan to try to break him out?

      25   A.   Yes.    He sent me a message with Gustavo telling me that he



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       1   had a plan to be able to escape from that jail in Combita, that

       2   he needed people outside so that they provide him with the

       3   logistics for protection.

       4   Q.   Now, when you learned about this, what steps did you take?

       5   A.   I reached out for Guaca so that person could do that.

       6             MR. DAVIS:    Could you put up on the screen 1 O, for

       7   Oscar?

       8             SPECIAL AGENT TWEHUES:      (Complied.)

       9   BY MR. DAVIS:

      10   Q.   Who is that?

      11   A.   Carlos Robayo, a/k/a Guacamayo.

      12   Q.   What was Guacamayo's role supposed to be in this plan?

      13   A.   He was to provide the logistics so that as soon as

      14   Navarette escaped from the jail, he would be protected as soon

      15   as he was able to escape.

      16   Q.   Did this plan ever go forward?

      17   A.   No, sir.

      18   Q.   Why not?

      19   A.   Guacamayo reported to me that it was impossible to get

      20   Navarette out of there because that area, all that area was

      21   very much watched or surveilled, heavily guarded.

      22   Q.   Now, going back to the plan to bring you and your cousin,

      23   Juan Carlos, out of prison.      To your knowledge, did the

      24   defendant have any involvement in that plan?

      25   A.   Are we talking about Capachivo?



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       1   Q.   (Nodded)

       2   A.   No, sir.    Not at that time, no.

       3   Q.   What about the plan to break Navarette out of prison, your

       4   brother-in-law?    To your knowledge, did Capachivo have any role

       5   in that plan?

       6   A.   Yes, he had knowledge.

       7   Q.   How do you know that?

       8   A.   Because I, myself, told him because they were around me

       9   every day and whatever plan was developed, it was always shared

      10   with everybody.

      11   Q.   How long did you remain in prison in Colombia?

      12   A.   From 2003 to April of 2005.

      13   Q.   Where did you go in April of 2005?

      14   A.   I was extradited here to Miami.

      15   Q.   For what purpose?

      16   A.   To face narco-trafficking charges.

      17   Q.   How did you resolve your case?           Did you go to trial or did

      18   you plead guilty?

      19   A.   I pleaded guilty.

      20   Q.   At the time that you pleaded guilty, did you have an

      21   agreement with the United States?

      22   A.   Yes, sir.

      23             THE WITNESS:    I need a break.

      24             THE COURT:    All right.

      25             Ladies and gentlemen, we'll take a brief 10-minute



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       1   recess.   Please don't discuss the case.

       2             THE COURT SECURITY OFFICER:         All rise.

       3        [The jury leaves the courtroom at 3:21 a.m.]

       4             THE COURT:    He's excused, certainly.

       5             Just for the attorneys' benefit, the juror who had

       6   that doctor's appointment the other day and kept everyone

       7   waiting for about two hours has another doctor's appointment at

       8   the same place for the same purpose on Tuesday, May 17.

       9             I let you know that now because my intention is to

      10   start trial that day at 11:00 in the morning so we're not kept

      11   waiting and she has ample time to see her doctor.

      12             MR. DAVIS:    Are we excused, Judge?

      13             THE COURT:    Yes.

      14             MR. DAVIS:    Thank you.

      15        [There was a short recess at 3:22 a.m.]

      16             THE COURT:    Bring the jury in.

      17        [The jury returns to the courtroom at 3:42 a.m.]

      18             THE COURT:    Everyone please be seated.

      19             MR. DAVIS:    May I proceed?

      20             THE COURT:    You may.

      21   BY MR. DAVIS:

      22   Q.   Before the break I was asking you how you resolved your

      23   case in Miami.    Remind us how you resolved your case here in

      24   Miami.

      25   A.   I pled guilty.



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       1             MR. DAVIS:    Putting up on the screen in evidence, 13

       2   B.

       3             SPECIAL AGENT TWEHUES:        (Complied.)

       4   A.   Yes, sir.

       5   Q.   Do you read the English language?

       6   A.   No, sir.

       7   Q.   Even though you don't read English, do you recognize what

       8   this document is?

       9   A.   Yes, sir.

      10   Q.   What is that?

      11   A.   This is where I admit my guilt before Her Honor, Judge

      12   Altonaga.

      13   Q.   This is your plea agreement?

      14   A.   Yes, sir.

      15   Q.   According to your plea agreement, what did you agree to

      16   plead guilty to?

      17   A.   Transportation, importation and distribution of cocaine

      18   within the United States.

      19   Q.   Reading from the plea agreement, starting from right under

      20   the title, "Plea Agreement":

      21               "The United States of America and Carlos Felipe Toro

      22        Sanchez, hereinafter referred to as the defendant, enters

      23        into the following agreement."

      24   A.   Yes, sir.

      25   Q.   "The defendant agrees to plead guilty to Count I of the



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       1        Third Superseding Indictment, which count charges him with

       2        conspiring to import into the United States five or more

       3        kilograms of cocaine, in violation of Title 21, United

       4        States Code, § § 963 and 952(a), all in violation of Title

       5        21, United States Code, § § 963 and 960(b)(1)(B).

       6              Do you remember that's what you pled guilty to?

       7   A.   Yes, sir.

       8   Q.   Under paragraph 2 -- paragraph 2 reads:

       9             "The United States agrees to seek dismissal of the

      10        remaining counts of the Third Superseding Indictment as to

      11        this defendant after sentencing."

      12   A.   Yes, sir.

      13   Q.   Do you remember what counts we wound up agreeing to dismiss

      14   against you?

      15   A.   I don't remember very well.

      16   Q.   Do you remember there was another count that charged you

      17   with conspiring to possess cocaine with intent to distribute?

      18   A.   Yes, sir.

      19   Q.   Was that a count that we agreed to dismiss?

      20   A.   Yes, sir.

      21   Q.   And do you remember there was another count that charged

      22   you with conspiring to commit money laundering?

      23   A.   Yes, sir.

      24   Q.   And was that another count that we agreed to dismiss?

      25   A.   Yes, sir.



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       1   Q.   Now, as part of this agreement, did you agree to cooperate

       2   with the United States?

       3   A.   Yes, sir.

       4   Q.   Going to page 5, paragraph 12.

       5             MR. DAVIS:    May I proceed?

       6   BY MR. DAVIS:

       7   Q.   Paragraph 12:

       8             "The defendant agrees that he shall cooperate fully

       9        with this office by providing truthful and complete

      10        information and testimony and producing documents records

      11        and other evidence when called upon by this office, whether

      12        in interviews, before a Grand Jury, at any trial or other

      13        court proceeding."

      14   A.   Yes, sir.

      15   Q.   Is that part of what you agreed to do?

      16   A.   Yes, sir.

      17   Q.   Without reading the rest of the cooperation provision of

      18   paragraph 12, essentially, what was your understanding of what

      19   you were required to do?

      20   A.   To tell the truth, to tell the truth and to provide the

      21   cooperation that the government required from me.

      22   Q.   And in return for your cooperation, what are you hoping

      23   will happen to you?

      24   A.   That I might be able to get a sentence reduction.

      25   Q.   Have you received a sentence reduction at this point?



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       1   A.   No, sir.

       2   Q.   When did you plead guilty?

       3   A.   It has been, well, since 2006.

       4   Q.   Could you look at the bottom left-hand corner of the

       5   document on the screen?

       6   A.   It was in '05.

       7             MR. DAVIS:    Let's go to the last page.

       8             SPECIAL AGENT TWEHUES:      (Complied.)

       9   BY MR. DAVIS:

      10   Q.   Do you see your signature?

      11   A.   Exactly, yes, sir.

      12   Q.   What's the date by your signature?

      13   A.   11/18 2005.

      14   Q.   Is that the date that you pled guilty?

      15   A.   Yes, sir.

      16   Q.   Now, you were saying that you were hoping that you will get

      17   your sentence reduced as a result of your cooperation.

      18   A.   Yes, sir.

      19   Q.   Has my office made any promises to you in that regard?

      20   A.   Excuse me?

      21   Q.   Have you been promised a sentence reduction?

      22   A.   No, sir.

      23   Q.   And if my office were to ask the Judge to reduce your

      24   sentence, is the Judge bound?

      25   A.   No, sir.



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       1   Q.   So, we can ask Judge Altonaga to reduce your sentence and

       2   Judge Altonaga doesn't have to follow us.        Correct?

       3   A.   Yes, sir, she does not have to agree.

       4   Q.   Have you been sentenced?

       5   A.   Yes, sir.

       6   Q.   What was your sentence?

       7   A.   236 months.

       8             MR. DAVIS:    Going to 13 A, the second page.

       9             SPECIAL AGENT TWEHUES:      (Complied.)

      10   BY MR. DAVIS:

      11   Q.   Do you recognize this document?

      12   A.   Yes, sir.

      13   Q.   And is this the document, the agreement you entered into as

      14   part of your interviews?

      15   A.   Yes, sir.

      16   Q.   Reading from 13 A, paragraph -- from the start of it:

      17             "Dear Mr."Urbano."     Who is Mr. Urbano?

      18   A.   My attorney.

      19   Q.   "Pursuant to our previous conversations, I'm writing this

      20        letter to set forth the terms under which your client,

      21        Carlos Felipe Toro Sanchez, will be interviewed by

      22        representatives of this office and/or law enforcement

      23        agents assisting this office."

      24   A.   Yes, sir.

      25   Q.   "The terms and conditions governing this interview are as



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       1        follows:    All statements and information provided by

       2        Mr. Toro Sanchez must be truthful and complete.         He must

       3        not seek to protect anyone from false information or

       4        willful omission and must not falsely accuse or implicate

       5        anyone."

       6   A.   Yes, sir.

       7   Q.   Are you a lawyer?

       8   A.   No, sir.

       9   Q.   Do you have any legal training?

      10   A.   No, sir.

      11   Q.   Do you have a basic understanding of what this agreement

      12   requires you to do?

      13   A.   Yes, sir.

      14   Q.   And what is that understanding?

      15   A.   That I must tell the truth at all times.

      16   Q.   Paragraph 2:   "So long as he abides by these terms,

      17        Mr. Toro Sanchez will have the protection afforded by

      18        direct use immunity, that is, the United States agrees that

      19        no statements made or other information provided in the

      20        interviews by Mr. Toro Sanchez will be used against him

      21        directly in any criminal case in the Southern District of

      22        Florida.    The sole exception is a prosecution for perjury,

      23        giving a false statement or obstruction of justice."

      24   A.   Yes, sir.

      25   Q.   Even though you're not a lawyer and don't have any legal



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       1   training, do you have a basic understanding of what my office

       2   has agreed to do as part of this agreement?

       3   A.   Yes, sir.

       4   Q.   What's that?

       5   A.   Well, that I cannot be charged because of the information

       6   that I might provide, and if I were not to tell the truth --

       7   how do you say that -- I've forgotten how to say it exactly,

       8   but if I don't tell the truth, then I'm going to be charged.

       9              If I give false information about other people, that

      10   would be obstruction of justice.

      11   Q.   Prior to your sentencing, did you write a letter To Judge

      12   Altonaga?

      13   A.   Yes, sir.

      14   Q.   And in that letter did you discuss the different

      15   cooperation that you had been attempting to provide to the

      16   United States?

      17   A.   Yes, sir.

      18   Q.   Now, at the time that you came up to the United States, did

      19   you have information about the location of several of your

      20   cousins?

      21   A.   Yes, sir.

      22   Q.   Which cousins are those?

      23   A.   Diego Montoya and Eugenio Montoya.

      24              MR. DAVIS:   Putting up on the screen, left to right, 1

      25   B and 1 D.



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       1             SPECIAL AGENT TWEHUES:      (Complied.)

       2             MR. DAVIS:    Put that on the left, please.

       3             SPECIAL AGENT TWEHUES:      (Complied.)

       4             MR. DAVIS:    Now 1 D.

       5             SPECIAL AGENT TWEHUES:      (Complied.)

       6   BY MR. DAVIS:

       7   Q.   Who is on the left side of the screen?

       8   A.   Diego Montoya.

       9   Q.   Who is on the right side of the screen?

      10   A.   Eugenio Montoya.

      11   Q.   Even though after you arrived in the United States you were

      12   volunteering certain information to the government, did you

      13   ever at that time offer information about the possible location

      14   of your cousins, Diego and Eugenio?

      15   A.   No, sir.

      16   Q.   Why was that?

      17   A.   Because it was significant that they were related to me.

      18   They were part of my family, my cousins, and they were involved

      19   at that particular time in a war and they were actually

      20   protecting my wife and children.

      21   Q.   The war against whom?

      22   A.   Against Wilber Varela.

      23   Q.   Now, when you wrote the letter to the Judge prior to your

      24   sentencing explaining your cooperation, did you explain to the

      25   Judge that you failed to volunteer information that could have



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       1   led to the arrest of your cousins?

       2   A.   I don't remember, sir.

       3   Q.   Do you think that you would have told the Judge when you

       4   wrote this letter that you knew information about where your

       5   cousins could be found, but you weren't volunteering it to

       6   anybody?

       7   A.   Yes, sir.

       8   Q.   Let me ask a different way.        You may be confused by my

       9   question.

      10   A.   Yes.

      11   Q.   I'm asking you about the letter you wrote to the Judge

      12   prior to sentencing.

      13   A.   Yes.

      14   Q.   Do you remember in that letter talking to the Judge about

      15   the cooperation that you offered to the United States?

      16   A.   I don't remember.     Well, what I mean to say, I do remember

      17   speaking of some of my cooperation, but not about my cousins.

      18   Q.   That was something that you didn't want anybody to know

      19   about at that time, where your cousins could be found.

      20   Correct?

      21   A.   Yes, sir, I did not want them to know.

      22   Q.   And, certainly, you didn't tell the Judge that you had

      23   information about your cousins that you weren't telling us

      24   about at that time.     Correct?

      25   A.   Yes, I did not say that.



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       1   Q.   Do you remember at the time of your guilty plea that you

       2   signed a document that essentially summarized what you did?

       3   A.   Yes, sir.

       4             MR. DAVIS:    May I approach?

       5             THE COURT:    You may.

       6   BY MR. DAVIS:

       7   Q.   (Handing to the witness.)

       8             Showing you, for identification only, 13 D, as in

       9   delta.

      10     [Government Exhibit 13 D marked for identification at 4:02

      11                                    p.m.]

      12   BY MR. DAVIS:

      13   Q.   Do you recognize that document?

      14   A.   Yes, sir.

      15   Q.   What document is that?

      16   A.   This is a plea agreement, my admission of guilt, my

      17   responsibility addressed to the Judge.

      18   Q.   This is, basically, the document that addressed, summarized

      19   what it was you did?

      20   A.   Yes, sir.

      21   Q.   Who prepared that document, if you know?

      22   A.   Between my attorney, the U.S. Attorney's Office and myself.

      23   Q.   Did you write this document?

      24   A.   No, sir.

      25   Q.   So, you don't know who wrote it?



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       1   A.   No, sir.    My attorney just showed it to me, but it was in

       2   agreement with the U.S. Attorney's Office.        This is admitting

       3   my guilt.

       4   Q.   How long is this document?

       5   A.   Seven pages.

       6   Q.   Does this document outline all the illegal activity that

       7   you did between the time that you first started working for

       8   your cousin until the time that you were arrested?

       9   A.   No, sir.

      10   Q.   If there were to be a document that outlined every little

      11   illegal activity that you committed from the time you first

      12   started working with your cousins until the date of your

      13   arrest, how long would it have to be?

      14   A.   It would be several volumes.       It would be a very big book.

      15   Q.   What if one were to write a document that outlined

      16   everything you knew about criminal activity about everyone you

      17   worked with, how long would that document have to be?

      18   A.   Very, very long, huge.

      19   Q.   Was the purpose of this document to explain every criminal

      20   act that you have done in your adult life?

      21   A.   It's a summary.

      22   Q.   Was the purpose of this document to explain every fact that

      23   you knew about the criminal activity of other people?

      24   A.   Yes, sir.

      25   Q.   Was the purpose of this document to explain every fact that



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       1   you knew about all the criminal activity of everybody that you

       2   worked with?

       3   A.   It's a summary.

       4   Q.   Of what you did?

       5   A.   Yes, sir.

       6   Q.   What about of what other people did?

       7   A.   No, sir.

       8   Q.   Just you?

       9   A.   Yes, sir.

      10   Q.   When were you sentenced, to the best of your recollection,

      11   what year?

      12   A.   Are you asking me when I was sentenced?

      13   Q.   What year?    Do you remember?

      14   A.   Yes, in February of 2006.

      15   Q.   After you were sentenced, where were you taken to?

      16   A.   To the Atlanta prison.

      17   Q.   In Atlanta, Georgia?

      18   A.   Yes, sir.

      19   Q.   While you were in prison in Atlanta, did there come a time

      20   Agent Twehues traveled to meet you to interview you?

      21   A.   Yes, sir.

      22   Q.   During this interview, was one of the subjects he

      23   questioned you about the murder of Dos Mil?

      24   A.   Yes, sir.

      25   Q.   When you were interviewed this first time in Atlanta, did



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       1   you admit the role of your cousin, Diego?

       2   A.   No, sir.

       3   Q.   Did you admit the participation of your cousin, Eugenio?

       4   A.   No, sir.

       5   Q.   Are you certain that you didn't admit what your cousin,

       6   Diego, had done?

       7   A.   Well, I did admit that Diego had been the one who had given

       8   the order -- I did admit that Diego was the one that gave the

       9   order for the murder, but I did not admit that I had been

      10   present in the meeting when that order had been given.

      11   Q.   Were you present at the meeting when the order had been

      12   given?

      13   A.   No, sir.

      14   Q.   Now, what about when you were interviewed?        Did you say

      15   anything about the fact that your cousin, Eugenio, had been

      16   involved in this murder?

      17   A.   No, sir.

      18   Q.   That was a fact that you withheld?

      19   A.   Yes, sir.

      20   Q.   So, you admitted your knowledge of Diego's role in the

      21   murder?

      22   A.   Yes, sir.

      23   Q.   But you covered up the role of your cousin, Eugenio?

      24   A.   Yes, sir.

      25   Q.   Why was it that you protected Eugenio at that time?



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       1   A.   I just did not want to incriminate him.

       2   Q.   Why was that?

       3   A.   Well, at that time, because he was a member of my family.

       4   I just wanted to hide that fact.

       5   Q.   Were you reinterviewed a year later?

       6   A.   Yes, sir.

       7   Q.   When you were reinterviewed the year later, was it by Agent

       8   Twehues?

       9   A.   Yes, sir.

      10   Q.   At that point did you admit your knowledge of the

      11   involvement of your cousin, Eugenio?

      12   A.   Yes, sir.

      13   Q.   So, by that time you decided to no longer protect him?

      14   A.   Yes, sir.

      15   Q.   Why was it that you decided a year later to no longer

      16   protect your cousin, Eugenio?

      17   A.   Because it had been a mistake to have hidden that fact from

      18   the very beginning, to have concealed that fact.

      19   Q.   Have you gotten yourself into some trouble by hiding that

      20   fact?

      21   A.   Yes, of course.

      22   Q.   What sort of trouble was that?

      23   A.   It was a letter sent to me by the prosecutor's office

      24   telling me that I was concealing that fact regarding Eugenio

      25   and that, therefore, I was not complying with the contract that



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       1   I had signed, with the agreement that I had signed.

       2   Q.   Had it been sent to you or to your lawyer?

       3   A.   My lawyer.

       4   Q.   And your lawyer showed it to you?

       5   A.   Yes, sir.

       6   Q.   And based upon that letter, what did you decide to do.

       7   A.   To tell the truth.

       8             MR. DIAZ:    One moment.      Can we get a time reference

       9   for the second meeting?

      10   BY MR. DAVIS:

      11   Q.   Do you remember when the second meeting was?

      12   A.   No, sir, I really don't remember right now.

      13   Q.   Do you remember where it was?

      14   A.   Butner, in North Carolina.

      15   Q.   Butner?

      16   A.   Yes, Butner.

      17   Q.   What's Butner?

      18   A.   A prison.

      19   Q.   So, you had been moved from Atlanta to Butner during that

      20   time?

      21   A.   Yes, sir.

      22   Q.   You were saying that when you came to Miami initially you

      23   were reluctant to cooperate against your cousins because of a

      24   war.

      25   A.   Yes, sir.



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       1   Q.   Who was that war between?

       2   A.   It was our family against Wilber Varela.

       3             MR. DAVIS:    Could we replace 1 D on the right side of

       4   the screen with 1 U?

       5             SPECIAL AGENT TWEHUES:      (Complied.)

       6   BY MR. DAVIS:

       7   Q.   Who is on the left side of the screen?

       8   A.   Diego Montoya, my cousin.

       9   Q.   Who is on the right side of the screen?

      10   A.   Wilber Varela.

      11   Q.   What was the nature of your cousin, Diego's, relationship

      12   with Wilber Varela?     Were they friends?

      13   A.   Very little.

      14   Q.   Did there come a time when they become even less than very

      15   little friends?

      16   A.   Yes, sir.

      17   Q.   Now, what was the first event in your mind that caused this

      18   relationship between your cousin Diego to deteriorate with

      19   Wilber Varela?

      20   A.   Since Payaso's death.

      21   Q.   Who was the person who killed Payaso?

      22   A.   Omar Garcia Capachivo.

      23   Q.   On whose orders?

      24   A.   Ivan Urdinola and Diego Montoya.

      25   Q.   Why was it that the killing of Payaso caused tension



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       1   between your cousin, Diego, and Wilber Varela?

       2   A.   Because at that time what was said was that Wilber Varela

       3   was working for Payaso, that there was a very close

       4   relationship or friendship between them.

       5   Q.   When did the war start?

       6   A.   Ours?

       7   Q.   Yes, the war between the Montoya Organization and the

       8   Varela Organization?

       9   A.   2003.

      10   Q.   Would it be fair to say that tensions started to increase

      11   in the years immediately preceding that war?

      12   A.   Excuse me.    I didn't understand.

      13   Q.   Let me try again.

      14             Were there certain events that took place in the two

      15   or three years that preceded the war that helped spark or

      16   instigate that war.

      17   A.   Yes, sir.

      18             MR. DAVIS:    Putting up on the screen 3 C in evidence.

      19             SPECIAL AGENT TWEHUES:        (Complied.)

      20             MR. DAVIS:    If we could focus around the area around

      21   Cali.

      22             SPECIAL AGENT TWEHUES:        (Complied.)

      23   BY MR. DAVIS:

      24   Q.   Do you see a town called Yumbo?

      25   A.   Yes, sir.



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       1   Q.   Was there a particular event that occurred in Yumbo that

       2   helped spark tensions between the Montoya and Varela

       3   Organizations?

       4   A.   Yes, sir.

       5   Q.   What event was that?

       6   A.   There's a discotheque which belonged to a/k/a El Perro and

       7   he was a lieutenant or a deputy for Varela and that discotheque

       8   was called Mission, and it was in December.         Some of Giyos'

       9   workers were going to go into that discotheque and they were

      10   armed.

      11   Q.   Before we go further --

      12             MR. DAVIS:    Could we put on the screen 10 A?

      13             SPECIAL AGENT TWEHUES:      (Complied.)

      14   BY MR. DAVIS:

      15   Q.   Do you recognize that person?

      16   A.   Yes certainly.

      17   Q.   Who is that?

      18   A.   That is El Perro.

      19   Q.   What was El Perro's connection to the Mission Discotheque

      20   in Yumbo?

      21   A.   He was the owner of that discotheque.

      22   Q.   I'd like to show you a document for identification only, 16

      23   B.

      24        [Government Exhibit 16 B marked for identification

      25   BY MR. DAVIS:



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       1   Q.   Do you recognize that person?

       2   A.   Yes, sir.

       3   Q.   What's his name?

       4   A.   He was one of Capachivo's workers.

       5   Q.   What was his name?

       6   A.   I don't recall his name right now.

       7   Q.   Do you remember his nickname?

       8   A.   I don't remember right now.

       9             MR. DAVIS:    Going back to 10 A.

      10             SPECIAL AGENT TWEHUES:        (Complied.)

      11   BY MR. DAVIS:

      12   Q.   You were saying El Perro owned the discotheque.

      13   A.   Yes, sir.

      14   Q.   Who were the people -- there were some workers or there

      15   were some people at that discotheque that night?

      16   A.   Yes, sir.

      17   Q.   Who were those people?

      18   A.   They were some of Giyos' workers.

      19             MR. DAVIS:    Putting on the screen 29 A.

      20             SPECIAL AGENT TWEHUES:        (Complied.)

      21             MR. DAVIS:    On the left side, please, and 29 B on the

      22   right.

      23             SPECIAL AGENT TWEHUES:        (Complied.)

      24   BY MR. DAVIS:

      25   Q.   Who are those people on the screen, left to right?



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       1   A.   Jhon Jairo and Jaime Londono, the Giyos.

       2   Q.   It was their workers at the discotheque owned by El Perro?

       3   A.   Yes, sir.

       4   Q.   What happened, what happened to the workers of the Giyos'

       5   that night?

       6   A.   They were killed at the entrance of that discotheque.

       7   Q.   Who did the Montoya Organization blame for instigating this

       8   killing?

       9   A.   Perro and Varela.

      10              MR. DAVIS:   Could he we put up on the screen now 10 A

      11   and 1 U?

      12              SPECIAL AGENT TWEHUES:     (Complied.)

      13   BY MR. DAVIS:

      14   Q.   Who is on the right side of your screen?

      15   A.   El Perro.

      16   Q.   On the left side of the screen?

      17   A.   Varela.

      18   Q.   What was Perro's association with Varela?

      19   A.   He was a lieutenant of Varela, El Perro was.

      20   Q.   After the shootout at the Mission Discotheque, did you

      21   participate in a meeting with Diego where it was discussed what

      22   the response would be?

      23   A.   Yes, sir.

      24   Q.   Who was present at this meeting?

      25   A.   Diego, Juan Carlos, the Giyos and myself and Jerson.



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       1   Q.   Flaco Jerson?

       2   A.   Flaco Jerson, yes.

       3   Q.   What about the defendant?     Was he present?

       4   A.   No, sir.

       5   Q.   What did the Giyos explain at this meeting?

       6   A.   Well, that some of the guys had been killed at the entrance

       7   of that discotheque, that the people who caused the death of

       8   those men were detained in a house which was a jailhouse in

       9   Yumbo.

      10   Q.   Did they bring any videos?

      11   A.   Yes, sir, they had a video.

      12   Q.   What was the video that they brought?

      13   A.   It was a video showing the people who had committed those

      14   murders.

      15   Q.   Where?

      16   A.   The killings at the discotheque.

      17   Q.   Was this a video from the discotheque or a video from the

      18   jail?

      19   A.   Inside the jail, yes.

      20   Q.   That showed what?

      21   A.   The three individuals who had been detained who had

      22   participated in the killings in the discotheque.

      23   Q.   When Diego saw the videos that showed the shooters from the

      24   Mission Discotheque were in there, what did he decide?

      25   A.   He gave the order so that they would be executed.



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       1   Q.   Were they?

       2   A.   Yes, sir.

       3             MR. DAVIS:    One moment please.

       4             Putting up on the screen 1 W.

       5             SPECIAL AGENT TWEHUES:      (Complied.)

       6   BY MR. DAVIS:

       7   Q.   Who is that?

       8   A.   Miguel Solano, Miguelito.

       9   Q.   Is he alive or is he dead?

      10   A.   He's dead.

      11   Q.   When was he killed?

      12   A.   January 5th, 2003.

      13   Q.   In what city?

      14   A.   Cartagena.

      15   Q.   That is on Colombia's north coast?

      16   A.   Yes, sir.

      17   Q.   Was he killed during the day or in the evening?

      18   A.   At night, leaving, as he was going out of a discotheque.

      19   Q.   The night that Miguel Solano was killed in Cartagena, where

      20   were you?

      21   A.   In Cartagena.

      22   Q.   Doing what?

      23   A.   I was at another discotheque.

      24   Q.   So, it's just a pure coincidence that you were in Cartagena

      25   the same night that Miguel Solano was killed?



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       1   A.   Yes, sir.

       2   Q.   How soon after the shooting of Miguel Solano did you hear

       3   about it?

       4   A.   That same early morning hours I realized that.

       5   Q.   When you learned that Miguel Solano had been killed, where

       6   did you go?

       7   A.   I went to El Valle the following day.

       8   Q.   When you heard Miguel Solano had been killed, did you think

       9   this was just an accident?

      10   A.   No, sir, it had been an attempt.

      11   Q.   An attempt or was he actually killed?

      12   A.   Yes, sir.   I already knew that he had been kill.

      13   Q.   And when you learned that he had been killed, who did you

      14   believe had been behind the murder?

      15   A.   Varela.

      16   Q.   Did there come a time after the murder that you met with

      17   Diego?

      18   A.   Yes, I met with him a few days later, yes, sir.

      19   Q.   Where?

      20   A.   At Magdalena Medio.

      21   Q.   Who was present?

      22   A.   Capachivo was with me, the Giyos were with me, Flaco Jerson

      23   and Guacamayo as well.

      24             MR. DAVIS:    Starting with 29 A and 29 B.

      25             SPECIAL AGENT TWEHUES:      (Complied.)



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       1   BY MR. DAVIS:

       2   Q.   Who is 29 A, sir?

       3   A.   Jhon Jairo Londono.

       4   Q.   Is he one of the Giyos?

       5   A.   Yes.

       6   Q.   On the screen on the right side is 29 B.         Who is that?

       7   A.   Jaime Londono, the other Giyo.

       8   Q.   What were their roles in the Montoya Organization?

       9   A.   They were in charge of a group of hit men.

      10               MR. DAVIS:   Putting on the screen 2 A.

      11               SPECIAL AGENT TWEHUES:      (Complied.)

      12   BY MR. DAVIS:

      13   Q.   Who is that?

      14   A.   That's Flaco Jerson.

      15   Q.   Was he also present at this meeting with Diego?

      16   A.   Yes, sir.

      17   Q.   What was his role in the Montoya Organization?

      18   A.   He was the operative or the operational wing of the Giyos

      19   group.

      20               MR. DAVIS:   Putting on the screen 1 O, as in Oscar.

      21               SPECIAL AGENT TWEHUES:      (Complied.)

      22   BY MR. DAVIS:

      23   Q.   Who is that?

      24   A.   Carlos Robayo Guacamayo.

      25   Q.   Was he another person present at this meeting with Diego?



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       1   A.   Yes, sir.

       2   Q.   What was his role in the Montoya Organization?

       3   A.   He was part of the operational wing that was -- whose head

       4   was Capachivo.

       5   Q.   What was Capachivo's wing?

       6   A.   Excuse me?

       7   Q.   What was Capachivo's role in the organization?

       8   A.   He was the head or the chief of that group of hit men.

       9   Q.   Where was Capachivo during this meeting?

      10   A.   He was there present with us.

      11   Q.   I think I asked you, but in case I didn't, where did this

      12   meeting take place?

      13   A.   Magdalena Medio.

      14   Q.   What was the purpose of the meeting?

      15   A.   For Diego to tell us what had been discussed and what had

      16   been agreed on after Miguel's death.

      17   Q.   When was this meeting?     What month and what year, if you

      18   recall?

      19   A.   Yes, sir.    That was around mid-January of 2003.

      20   Q.   What was Diego going to tell you?

      21   A.   That they had sent a messenger to Chupeta in order to hold

      22   a meeting where Varela would be present, Rasguno would be

      23   present and Danilo Gonzalez, 31, and other members of the North

      24   Valley Cartel, such as Arcangel.

      25   Q.   For what purpose was this meeting supposed to be?



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       1   A.   For Diego to get an explanation of why Miguel Solano will

       2   be killed.

       3   Q.   In addition to Diego telling you about this plan for a

       4   meeting, were you waiting to learn whether Diego wanted to go

       5   to war?

       6   A.   Yes, sir.

       7   Q.   Did Diego relate to a decision that he had, may have had at

       8   that time?

       9   A.   Yes, sir.

      10   Q.   What decision was that?

      11   A.   The decision was that there would be no war, that Miguel

      12   was dead, that he would leave, that he would no longer be a

      13   member of the North Valley Cartel, but that from there on if

      14   any of his family members were even touched or any member of

      15   his organization was even touched, there was going to be an

      16   open war.

      17   Q.   You said he was no longer going to be a member of the North

      18   Valley Cartel?

      19   A.   Yes, sir.

      20   Q.   Who is "he"?

      21   A.   Diego Montoya.

      22   Q.   So, Diego was relating that his decision was to do what?

      23   A.   That there was not going to be any war due to Miguel

      24   Solano's death, that they should not count on him any further,

      25   in other words, not count on Diego anymore as a member of the



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       1   North Valley Cartel, but if any of his relatives or family

       2   members were touched or any member of his organization, then

       3   there would be an outright war.

       4   Q.   You said that Diego was also telling you that there was a

       5   proposal on the table for the leaders in the North Valley

       6   Cartel.

       7   A.   Yes, he said that that's why Chupeta came to see him, so

       8   that they could hold this meeting.

       9   Q.   Now, was there a meeting in January or February of 2003?

      10   A.   No, sir.   There was a meeting with us for Diego to explain

      11   what was the reason -- what I mean to say is at that time the

      12   meeting was to explain to us that a member of the North Valley

      13   Cartel had come to see him to tell him that they should have a

      14   meeting of the entire cartel, which would include all the

      15   kingpins, all the bosses of the cartel, in order to explain to

      16   Diego why the decision had been made to murder Miguel Solano,

      17   and Diego explained to us that he wasn't interested in any

      18   meeting with the members of the North Valley Cartel, that the

      19   message that he had sent out to them was that they should not

      20   count with him any longer as a member of the North Valley

      21   Cartel, that he wasn't interested in showing up at any meeting,

      22   that in any event, Miguel was already dead and just to leave

      23   him at peace.    But from that moment on, if there was any

      24   attempt made against any member of his family or any of the

      25   members of the organization, then he would go into a



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       1   full-fledged war.

       2   Q.   After this meeting, where did you go?

       3   A.   I went to Bogota.

       4   Q.   To go where?

       5   A.   To go to Cali afterwards.

       6             MR. DAVIS:    Okay.    Could we put up on the screen 3 B,

       7   as in bravo?

       8             SPECIAL AGENT TWEHUES:        (Complied) Mr.

       9             MR. DAVIS:    Could we focus on the area between

      10   Magdalena Medio and Cali?

      11             SPECIAL AGENT TWEHUES:        (Complied.)

      12   BY MR. DAVIS:

      13   Q.   Tell us where you met with Diego.

      14   A.   At Puerto Boyaca.

      15   Q.   Where is Puerto Boyaca relative to La Dorada?

      16   A.   It's two hours away about.

      17   Q.   North?

      18   A.   I don't know if it's to the north.        It's further up.

      19   Q.   Okay.    That would be to the north if it was further up.

      20   A.   Yes, of course.

      21   Q.   And then you went from Puerto Boyaca to where?

      22   A.   Bogota.

      23   Q.   And from Bogota, you were planning to go where?

      24   A.   Cali.

      25   Q.   When you left, who did you go with?



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       1   A.   Capachivo came along and the Giyos, Flaco Jerson,

       2   Guacamayo.   I went also and Arnulfo Espinel.

       3              MR. DAVIS:   Putting on the screen 1 N.

       4              SPECIAL AGENT TWEHUES:     (Complied.)

       5   BY MR. DAVIS:

       6   Q.   Who is this?

       7   A.   That's Arnulfo Espinel, Fito.

       8   Q.   Somebody else who was up in Magdalena Medio at the time?

       9   A.   Yes, sir.

      10              MR. DAVIS:   Could we Go back to 3 B?

      11              SPECIAL AGENT TWEHUES:     (Complied.)

      12   BY MR. DAVIS:

      13   Q.   Did you folks have bodyguards or were you traveling alone?

      14   A.   Yes, we did have bodyguards.

      15   Q.   When you got around Bogota, did you take some time to stop

      16   and eat?

      17   A.   Yes, at a restaurant near Villeta.

      18   Q.   When you stopped at this restaurant -- what's the name of

      19   it again?

      20   A.   I don't remember the name of the restaurant, but it is near

      21   Villeta.    It's a place to eat.

      22   Q.   And Villeta is near Bogota?

      23   A.   Yes, sir.

      24   Q.   When you're in this restaurant in Villeta, did you run into

      25   anybody in particular?



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       1   A.   Yes.

       2   Q.   Who was that?

       3   A.   Danilo Gonzalez.

       4               MR. DAVIS:   Putting on the screen 1 X.

       5               SPECIAL AGENT TWEHUES:      (Complied.)

       6   BY MR. DAVIS:

       7   Q.   This uniform -- at the time you ran into Danilo Gonzalez,

       8   was he still in law enforcement?

       9   A.   No, he was not part of the police force, but he did handle

      10   them very well.

      11   Q.   For whom?

      12   A.   For the North Valley Cartel.

      13   Q.   At the time that you ran into him at the restaurant, who

      14   was he working with, in particular?

      15   A.   He was Varela's partner.

      16   Q.   And what was the relationship of Diego Montoya with Danilo

      17   Gonzalez like at the time that you ran into him at this

      18   restaurant?

      19   A.   At that time the relationship was very tense.

      20   Q.   Who was in the restaurant first, you folks or Danilo

      21   Gonzalez?

      22   A.   No, Danilo Gonzalez was there.

      23   Q.   And who noticed whom first?

      24   A.   We did.   Actually, I got out first and as we were going in

      25   I noticed that Danilo Gonzalez was sitting at a table.



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       1   Q.   Did there come a time when Danilo Gonzalez noticed you

       2   folks?

       3   A.   Of course, as soon as he saw us come in.

       4   Q.   What did he do?

       5   A.   Well, he got scared.    He thought we were going to murder

       6   him.    He stood up and addressed me.         He actually extended his

       7   hand.    He shook my hand and he said "Hello" to Capachivo, the

       8   Giyos, Jerson, Guacamayo.      He greeted all of us.

       9             But you could see the worry on his face, and then he

      10   told me that he needed to speak with me.

      11   Q.   And did you agree to speak with him?

      12   A.   Yes, sir.

      13   Q.   Where did you go?

      14   A.   We just moved to the side.      When we were alone, he

      15   explained to me that he was very worried and he asked how Diego

      16   was doing and also what had Diego said about Miguel's death,

      17   and he was asking me to do him the favor of helping, that I

      18   should go and talk to Diego so that Diego would call Danilo

      19   Gonzalez and that way he, Danilo, could explain what had

      20   happened.

      21   Q.   And what did you do?

      22   A.   I told him to give me the telephone number and that I would

      23   do everything possible for Diego to call him and speak with

      24   him.

      25   Q.   And after you were done with the conversation, where did



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       1   you go?

       2   A.   I went over to my table.     I mean, the people who came with

       3   me, we all sat at a table, and Danilo went to his table where

       4   he was having dinner, but at that very moment, Capachivo asked

       5   me to give him the order so that he could kill Danilo Gonzalez.

       6   Q.   Why did Capachivo ask you for the order to kill Danilo

       7   Gonzalez?

       8   A.   Because at that particular time I was the individual who

       9   could possibly give such an order.

      10   Q.   Why was that?

      11   A.   I was a leader within the organization.

      12   Q.   And how close were you to Diego?

      13   A.   Well, since we were related, we were very close.

      14   Q.   This is a family organization?

      15   A.   Yes, sir.

      16   Q.   When the defendant asked you for permission to kill Danilo

      17   Gonzalez, what was your response?

      18   A.   I told him "No," that I wasn't going to give such an order.

      19   Q.   Why was that?

      20   A.   Because I didn't want -- well, we had just come from a

      21   meeting with Diego where the orders had been that there was to

      22   be no confrontation.     Had I given the order to Capachivo to go

      23   ahead and kill Danilo, I would actually be going over Diego's

      24   decisions and that would bring a lot of problems for our

      25   family.



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       1   Q.   You were telling us that at the meeting that preceded your

       2   encounter with Danilo, Diego had told you there had been a

       3   proposal for a meeting of all of the leaders of the North

       4   Valley Cartel.

       5   A.   Yes, sir.

       6   Q.   Did there come a time that there actually was a meeting of

       7   all the heads of the North Valley Cartel?

       8   A.   Yes, we did have a meeting.

       9   Q.   When was this?

      10   A.   That was sometime around mid-2003.

      11   Q.   Where?

      12   A.   That was at Magdalena Medio, at the farm belonging to

      13   Dr. Puerta Parra.

      14             MR. DAVIS:    Putting up on the screen 10 B, as in

      15   bravo.

      16             SPECIAL AGENT TWEHUES:        (Complied.)

      17   BY MR. DAVIS:

      18   Q.   Who is this?

      19   A.   Gabriel Puerta Parra.

      20   Q.   Is this the person you referred to as Dr. Puerta Parra?

      21   A.   Yes, sir.

      22   Q.   Why do you call him Dr. Puerta Parra?

      23   A.   Because he was an attorney.

      24   Q.   Now, who attended on the Montoya side?

      25   A.   Diego, Juan Carlos.



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       1             MR. DAVIS:    Putting up on the screen 1 B.

       2             SPECIAL AGENT TWEHUES:        (Complied.)

       3   A.   Well, Diego went, Juan Carlos.

       4   Q.   Who is that?

       5   A.   Diego.

       6             MR. DAVIS:    1 C.

       7             SPECIAL AGENT TWEHUES:        (Complied.)

       8   A.   Juan Carlos Montoya.

       9   Q.   Who else?

      10   A.   Capachivo.

      11   Q.   Who else?

      12   A.   The Giyos, Jerson, Tio Luis, I went, Jorge Ivan, Iguana.

      13   He was Ivan's cousin.

      14             MR. DAVIS:    Putting on the screen 2 F.

      15             SPECIAL AGENT TWEHUES:        (Complied.)

      16   BY MR. DAVIS:

      17   Q.   Who is the person on the right side of the screen?

      18   A.   Yes, sir.    Jorge Ivan Urdinola.

      19   Q.   What was Iguana's relationship -- what was his association

      20   with Ivan Urdinola Grajales?

      21   A.   They were cousins.

      22   Q.   By the time of this meeting, was Ivan Urdinola Grajales

      23   still alive?

      24   A.   No, sir.

      25   Q.   Were there other people at the meeting that you remember?



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       1   A.   Yes, sir.

       2   Q.   From the Montoya side, who else do you remember?

       3   A.   Hilvert Urdinola, my uncle.      I was there.    The rest of our

       4   security team.    Botalon was there as well, and he was the head

       5   of the self-defense unit in Boyaca.

       6             MR. DAVIS:    Putting on the screen 29 D, as in David.

       7             SPECIAL AGENT TWEHUES:      (Complied.)

       8   BY MR. DAVIS:

       9   Q.   Do you recognize that screen?

      10   A.   Yes, sir.

      11   Q.   Who is that?

      12   A.   Botalon.

      13   Q.   You said that Botalon -- who was Botalon associated with?

      14   A.   With the -- in Spanish its called Alto Defenses in Colombia

      15   or the self-defense unit in Colombia.

      16   Q.   What sort of unit was this?

      17   A.   They are the anti-communists in Colombia.

      18   Q.   Are these like paramilitaries?

      19   A.   Yes, sir.

      20   Q.   What role was he playing in this meeting?

      21   A.   He was there accompanying Diego because it was in his area

      22   that that meeting was to take place.

      23   Q.   He was, basically, providing security for Diego?

      24   A.   Yes, sir.

      25   Q.   They are the anti-communists?



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       1   A.   Yes.   At that time he was the individual who was protecting

       2   Diego in Magdalena Medio.

       3   Q.   I don't believe you mentioned Guacamayo yet.        Was Guacamayo

       4   at the meeting at Dr. Puerta's farm?

       5   A.   Yes, he was as well.

       6   Q.   Now, what about the people on the Varela side?        Who was

       7   there for the Varela side?

       8   A.   Danilo Gonzalez.

       9   Q.   One moment, please.

      10               MR. DAVIS:   Putting on the screen 1 X.

      11               SPECIAL AGENT TWEHUES:    (Complied.)

      12   BY MR. DAVIS:

      13   Q.   Who is that?

      14   A.   Danilo Gonzalez.

      15   Q.   Who is the next one you remember?

      16   A.   There was Comba, who was called Combatiente.

      17               MR. DAVIS:   Putting on the screen 10 C, as in Charlie.

      18               SPECIAL AGENT TWEHUES:    (Complied.)

      19   BY MR. DAVIS:

      20   Q.   Do you recognize that person?

      21   A.   That is Combatiente.

      22   Q.   Who is a Varela person?

      23   A.   Yes, sir.

      24   Q.   Who else do you remember as being present at this meeting

      25   for the Varela side?



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       1   A.   Julio Peña.

       2   Q.   Who else?

       3   A.   I don't remember the rest.         There were a lot of people.

       4   Q.   What about Varela?      Was Varela there?

       5   A.   Yes, he was present as well.

       6   Q.   You had mentioned earlier that at the meeting with Diego

       7   after the Miguel Solano murder that Diego had received a

       8   message from Chupeta.

       9   A.   Yes, sir.

      10   Q.   What is Chupeta present?

      11   A.   He was at this meeting as well, yes, sir.

      12              MR. DAVIS:    Putting on the screen 1 E, as in echo.

      13              SPECIAL AGENT TWEHUES:         (Complied.)

      14   BY MR. DAVIS:

      15   Q.   Who is that?

      16   A.   Juan Carlos Ramirez Abadia, Chupeta.

      17   Q.   Was he another one of the kingpins of the North Valley

      18   Cartel at this time?

      19   A.   Yes, sir.

      20   Q.   You also mentioned from that meeting with Diego in

      21   Magdalena Medio a person by the name of Rasguno.

      22   A.   Yes, sir.

      23   Q.   Was Rasguno present at this meeting?

      24   A.   Yes, of course.

      25              MR. DAVIS:    Putting on the screen 1 G.



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       1              SPECIAL AGENT TWEHUES:         (Complied.)

       2   BY MR. DAVIS:

       3   Q.   Who is that?

       4   A.   Hernando Gomez, Rasguno.

       5   Q.   Was he another one of the kingpins of the North Valley

       6   Cartel at the time?

       7   A.   Yes, sir.

       8   Q.   You were mentioning that you also went with your

       9   bodyguards.

      10   A.   Yes, sir.

      11   Q.   Did the other people bring their bodyguards as well?

      12   A.   Yes, sir.

      13   Q.   How many bodyguards were there at this meeting?

      14   A.   Over 200.

      15   Q.   What sort of weapons were they carrying?

      16   A.   Assault rifles, AK-47s and R-15s.

      17   Q.   Was this a friendly meeting?

      18   A.   Very little.

      19   Q.   Was it a tense meeting?

      20   A.   Very tense.

      21   Q.   What were the subjects -- were there different subjects

      22   discussed?

      23   A.   Yes, many.

      24   Q.   Let's take the most important ones, the most important

      25   five, one at a time.       Was the murder of Miguel Solano



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       1   discussed?

       2   A.   Yes, sir.

       3   Q.   And what was said about that?

       4   A.   The problem was that Miguel Solano seemed to have been an

       5   informed, an informant for the U.S. government and, in

       6   addition, he had murdered one of Varela's stepbrothers at La

       7   Victoria and, in addition to that, he had also had some kind of

       8   dealings with Hernando Gomez, Rasguno, drug trafficking

       9   dealings, where there had been a debt for over $20 million.

      10             So, all of that sort of accumulated, the whole thing

      11   came together, and that's why the orders were given to murder

      12   Miguel Solano.

      13   Q.   Who took credit for ordering the murder of Miguel Solano?

      14   A.   Varela.

      15             MR. DAVIS:    Putting on the screen 1 X.

      16             SPECIAL AGENT TWEHUES:      (Complied.)

      17   BY MR. DAVIS:

      18   Q.   Remind us who this is.

      19   A.   Danilo Gonzalez.

      20   Q.   Was he involved with any tense discussions with anybody at

      21   this meeting?

      22   A.   Yes, sir.

      23   Q.   With whom?

      24   A.   With Diego.

      25             MR. DAVIS:    Could we do a side-by-side and bring up 1



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       1   B, as in bravo?

       2              SPECIAL AGENT TWEHUES:     (Complied.)

       3   BY MR. DAVIS:

       4   Q.   What was the nature of the discussions between Diego and

       5   Danilo Gonzalez?

       6   A.   Diego told him not to sic the police on him anymore because

       7   Danilo Gonzalez had a lot of influence with the police forces.

       8   He was very good friend of Naranjo, who was actually the head

       9   of DIJIN, and he also was well acquainted with many of the

      10   police force generals.

      11              At that time, Diego was the most wanted man in

      12   Colombia and Diego told him, "You know what?        Don't sic the

      13   police on me anymore, so you and I won't have a problem."

      14   Q.   What was the nature of this discussion?        Was it calm or was

      15   it tense?

      16   A.   It was very, very -- it was strong and very tense.

      17              MR. DAVIS:   Putting back up on its screen 2 F, as in

      18   foxtrot.

      19              SPECIAL AGENT TWEHUES:     (Complied.)

      20   BY MR. DAVIS:

      21   Q.   Who is the person on the right side of the picture?

      22   A.   Jorge Ivan Urdinola, Iguana.

      23   Q.   Were there any discussions at this meeting about a dispute

      24   he had with one of the Varela people?

      25   A.   Yes, with Comba.



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       1              MR. DAVIS:   Putting on the screen 10 C.

       2              SPECIAL AGENT TWEHUES:      (Complied.)

       3   BY MR. DAVIS:

       4   Q.   What was the dispute that Iguana had with Comba?

       5   A.   Comba was blaming Iguana for the theft of some merchandise.

       6   He claimed that he had stolen a drug shipment.

       7              THE COURT:   Should we stop at this point, Mr. Davis?

       8              MR. DAVIS:   Sure.

       9              THE COURT:   Ladies and gentlemen, we adjourn for the

      10   weekend.   Please remember my instructions not to do any

      11   independent reading or research about the matters you have been

      12   hearing about during the course of the trial, to avoid contact

      13   with all the parties whom you see have a relationship to the

      14   trial and please don't discuss the case with anyone.

      15              Monday morning we'll begin a little later than

      16   customary.   I have a morning hearing in another case.         We'll

      17   start at 12:30.    I want you all to take your lunch before

      18   trial.   We won't break for lunch.        Have a good weekend.

      19        [The jury leaves the courtroom at 5:03 a.m.]

      20              THE COURT:   I apologize.      I had forgotten I had

      21   something Monday morning.       I was reminded during this

      22   afternoon's proceedings.

      23              MR. DAVIS:   It works out fine.     It gives everybody a

      24   nice long weekend.

      25              THE COURT:   And work on your social skills, gentlemen,



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       1   over the weekend.

       2              MR. DIAZ:    Judge, as a result of the trial, Mr. Varela

       3   has not been able to make any phone calls.         I'm wondering

       4   whether or not, perhaps on Monday, we can work something out

       5   where if he's down in the Marshal's lock-up, he can make a call

       6   from there or get some kind of order from the Court.

       7              He would like to call every day, but if he can't call

       8   every day, we understand, but to have to go a whole week and

       9   not to have any contact with his family because he's in

      10   trial --

      11              THE COURT:   I would be more than happy to accommodate

      12   if you want to bring him a phone.

      13              MR. DIAZ:    I have a cell phone.     He can call.   The

      14   Marshals can listen in on the conversation.         That's the easiest

      15   way.   It's not a recorded call, but they can listen to it.

      16              THE COURT:   The other way is to indicate that we start

      17   at noon.   He's brought here at noon.         He sits here with a

      18   telephone.   We turn off the microphones and he has a

      19   conversation.

      20              MR. DIAZ:    How about if it's already 5:00 on Monday?

      21   I'll go to the Marshal's lock-up here and speak to whoever is

      22   in charge.   I'll ask if they can do it for us.        If not, if Your

      23   Honor can do it for us.

      24              THE COURT:   Yes.

      25              THE COURT:   I have no problem.      He can sit here and



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       1   chat.   We just turn off the microphones.

       2             MR. DIAZ:     Thank you, Judge.

       3                          C E R T I F I C A T E

       4             I hereby certify that the foregoing is an accurate

       5   transcription of proceedings in the above-entitled matter.

       6

       7   ________________
             09/11/11                      ______________________________________
                DATE                        BARBARA MEDINA
       8                                    Official United States Court Reporter
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       9                                    Miami, FL 33128 - 305.523.5518
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